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                        IN THE UNITED STATES DISTRICT COURT FOR
                            THE EASTERN DISTRICT OF VIRGINIA
                                   NORFOLK DIVISION

   Latasha Holloway, et al.,

          Plaintiffs,
                                                   Civil Action No. 2:18-cv-0069
   v.
   City of Virginia Beach, et al.,

          Defendants

         PLAINTIFFS’ BRIEF IN OPPOSITION TO DEFENDANTS’ MOTION FOR
                             SUMMARY JUDGMENT




                          PLAINTIFFS’ EXHIBIT 7
        Deposition Transcript of Virginia Beach City Council Member John Moss
Case 2:18-cv-00069-RAJ-DEM Document 118-7 Filed 11/05/19 Page 2 of 270 PageID# 2644




        Transcript of John D. Moss
                              Date: September 13, 2019
             Case: Holloway, et al. -v- City of Virginia Beach, et al.




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       1               IN THE UNITED STATES DISTRICT COURT
       2               FOR THE EASTERN DISTRICT OF VIRGINIA
       3                           NORFOLK DIVISION
       4     --------------------------------x
       5     LATASHA HOLLOWAY and                     :
       6     GEORGIA ALLEN,                           :
       7                           Plaintiffs,        :       CASE NO.
       8     v.                                       :      2:18cv00069
       9     CITY OF VIRGINIA BEACH, et al., :
       10                          Defendants.        :
       11    --------------------------------x
       12
       13
       14                  Deposition of JOHN D. MOSS
       15                   Virginia Beach, Virginia
       16                   Friday, September 13, 2019
       17                            9:10 a.m.
       18
       19
       20    Job No. 261326
       21    Pages 1 - 215
       22    Reported by:      Penny C. Wile, RPR, RMR, CRR
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                                   Transcript of John D. Moss
                                 Conducted on September 13, 2019              2


       1               Deposition of JOHN D. MOSS, held at the
       2     offices of:
       3
       4
       5               VIRGINIA BEACH CITY ATTORNEY
       6               2401 Courthouse Drive
       7               Municipal Center, Building One
       8               Room 260
       9               Virginia Beach, VA 23456
       10              (757)385-4351
       11
       12
       13
       14
       15
       16
       17              Pursuant to Notice, before Penny C. Wile,
       18    RPR, RMR, CRR, Notary Public of the Commonwealth
       19    of Virginia.
       20
       21
       22


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019             3


       1                A P P E A R A N C E S
       2     ON BEHALF OF THE PLAINTIFFS, LATASHA HOLLOWAY
       3     AND GEORGIA ALLEN:
       4           ERIN CHLOPAK, ESQUIRE
       5           CAMPAIGN LEGAL CENTER
       6           1101 14th Street NW
       7           Suite 400
       8           Washington, DC 20005
       9           (202)736-2200
       10               and
       11          ANNABELLE E. HARLESS, ESQUIRE
       12          CAMPAIGN LEGAL CENTER
       13          73 W. Monroe Street
       14          Suite 302
       15          Chicago, IL 60603
       16          (312)561-5508
       17
       18
       19
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       21
       22


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                                   Transcript of John D. Moss
                                 Conducted on September 13, 2019              4


       1                A P P E A R A N C E S
       2     ON BEHALF OF THE DEFENDANTS, CITY OF VIRGINIA
       3     BEACH, ET AL.:
       4           CHRISTOPHER S. BOYNTON, ESQUIRE
       5           OFFICE OF THE VIRGINIA BEACH CITY ATTORNEY
       6           2401 Courthouse Drive
       7           Municipal Center, Building One
       8           Room 260
       9           Virginia Beach, VA 23456
       10          (757)385-4351
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       1                           C O N T E N T S
       2     EXAMINATION OF JOHN D. MOSS                           PAGE
       3               By Ms. Harless                                7
       4
       5
       6
       7
       8                         E X H I B I T S
       9     MOSS DEPOSITION EXHIBIT                               PAGE
       10    Exhibit 1      Subpoena, John D. Moss                 14
       11    Exhibit 2      Virginian-Pilot article                132
       12    Exhibit 3      Subpoena, Jessica Abbott               136
       13    Exhibit 4      Subpoena, James Wood                   162
       14    Exhibit 5      Email dated 1/10/17,
       15                   DEF08407                               175
       16    Exhibit 6      Email dated 6/10/15,
       17                   DEF09810-09813                         182
       18    Exhibit 7      Virginia Beach City Clips,
       19                   6/12/18, DEF07773-07777                201
       20    Exhibit 8      Email dated 10/17/18,
       21                   DEF09444-09445                         208
       22


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                                   Transcript of John D. Moss
                                 Conducted on September 13, 2019                6


       1                       P R O C E E D I N G S
       2     Whereupon,
       3                           JOHN D. MOSS,
       4     after having been first duly sworn, was examined
       5     and did testify under oath as follows:
       6
       7              MS. HARLESS:      So we'll state our
       8     appearances for the record.
       9              I'm Annabelle Harless, and I represent the
       10    plaintiffs in this case.          And I work with the
       11    Campaign Legal Center in Chicago.
       12             MS. CHLOPAK:      Erin Chlopak.        And I also
       13    work for the plaintiffs in this case.                 And I work
       14    at the Campaign Legal Center in Washington, D.C.
       15             MR. BOYNTON:      I'm Chris Boynton.          I'm with
       16    the Virginia Beach City Attorney's Office.                And I
       17    represent the defendants in the case.
       18             THE DEPONENT:      And I'm John Moss, City
       19    Council Member At-Large for the City of Virginia
       20    Beach, Virginia.
       21
       22


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                                   Transcript of John D. Moss
                                 Conducted on September 13, 2019              7


       1        EXAMINATION BY COUNSEL FOR THE PLAINTIFFS:
       2     BY MS. HARLESS:
       3          Q. Nice to meet you, Mr. Moss.             As I said, my
       4     name is Annabelle Harless.           And I'm going to be
       5     asking you some questions today.
       6              Before I do, have you ever been deposed
       7     before?
       8          A. Yes.
       9          Q. You have?
       10         A. Correct.
       11         Q. So you know the basic ground rules of a
       12    deposition?
       13         A. Well, you can repeat them to refresh my
       14    memory.
       15         Q. I'll go over a couple.
       16             The court reporter is writing down
       17    everything that we say.          So that she's able to get
       18    everything on the record, please wait for me to
       19    finish asking my question before you start
       20    answering, and I will do the same for you, so we
       21    don't interrupt each other and so we can get a
       22    clear record.


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              8


       1              The court reporter can only record verbal
       2     responses, so it's important that you answer with
       3     a yes or a no or an audible answer rather than
       4     nodding your head.
       5              And we can take a break at any time but
       6     not while a question is pending.
       7              Does that make sense?
       8          A. Correct.      It does.
       9          Q. Okay.     Could you please state your full
       10    name for the record?
       11         A. John Darrell -- that's D-A-R-R-E-L-L --
       12    Moss, M-O-S-S.
       13         Q. And, for the record, what is your race?
       14         A. Caucasian.
       15         Q. Do you understand you're under oath today?
       16         A. I do.
       17         Q. Is there any reason why you cannot give
       18    truthful answers to my questions today?
       19         A. No.
       20             MR. BOYNTON:       And before we get too deep
       21    into the deposition, there's been some discussion
       22    about the scope and the invocation of legislative


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                                    Transcript of John D. Moss
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       1     privilege with respect to Council members.
       2              Just to get it on the record, Mr. Moss, do
       3     you wish to invoke your right to legislative
       4     privilege to the extent it applies to the
       5     questions here today?
       6              THE DEPONENT:       I do.
       7              MS. HARLESS:       It is our understanding that
       8     that privilege has to be brought up at every
       9     question that is asked.
       10             MR. BOYNTON:       And we will.        But he's
       11    invoking it as a general principle, just to make
       12    clear that he has chosen to do that.                   And, then,
       13    we will raise it as an objection as to questions
       14    appropriate for that objection.
       15         Q. You've mentioned you've been deposed
       16    before, correct?
       17         A. Correct.
       18         Q. Were those in cases involving you
       19    personally or the city?
       20         A. The city only.
       21         Q. Were any of those cases about --
       22         A. Correction.       Way back when I was a minor I


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019                10


       1     was deposed for a traffic accident, so...
       2           Q. Okay.     Personally?
       3           A. Correct.
       4           Q. What were the depositions for the city?
       5           A. They were regarding the arena case.             We
       6     were being sued by ESG for breach of contract.                 It
       7     was a state court matter.
       8           Q. What was the issue?          Breach of contract?
       9           A. Breach of contract.          Correct.
       10          Q. Have you ever been deposed in any other
       11    cases?
       12          A. None other than the two that I mentioned,
       13    no.
       14          Q. Okay.     I'm not asking for the content of
       15    any communications you've had with your attorneys
       16    here.    When did you first learn about this
       17    lawsuit?
       18          A. When I received an email that --
       19    requesting that I would be being asked for dates
       20    and that the city had received a notice for
       21    deposition.      I can't tell you the exact date, but
       22    it's been in the last 30 days.


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                                     Transcript of John D. Moss
                                   Conducted on September 13, 2019                 11


       1              MR. BOYNTON:        Okay.
       2          Q. So --
       3          A. I was aware there was a lawsuit.                  But in
       4     terms of being asked for a deposition?
       5          Q. No.     No.    I'm asking when did you first
       6     become aware that this lawsuit had been filed?
       7          A. When we got an advance notice from the
       8     City Attorney telling us.            I can't recall.         It was
       9     a piece of memorandum or something that was
       10    received.
       11         Q. I don't know want to know the contents of
       12    the document.       I just want to know the date.
       13         A. I do not know the date.
       14         Q. Was it 2018?
       15         A. I couldn't tell you.            It's in the last 60
       16    days, maybe.      I can't tell you when.                I do not --
       17    I cannot definitively recall when I was first
       18    notified that the lawsuit was being filed.
       19         Q. Do you know when the lawsuit was
       20    originally filed?
       21         A. I do not.
       22         Q. Okay.     Besides meeting with your


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                                    Transcript of John D. Moss
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       1     attorneys, did you do anything to prepare for this
       2     deposition?
       3          A. No, other than we were in executive
       4     session, which it is legislative privilege.                I
       5     have that information.          But I have not personally
       6     done any preparation, no.
       7          Q. You didn't review any documents, besides
       8     meeting with your attorneys?
       9          A. Other than we got a memo in package Friday
       10    that talked about all city litigation that was
       11    going on.     I did read that memo.           I received it on
       12    Friday in my packet.         But that's, I guess,
       13    attorney privilege, I assume.
       14             MR. BOYNTON:       They get letters from the
       15    attorneys explaining various -- status of various
       16    cases.     That's what he's referring to.              It is pure
       17    attorney-client privilege.
       18         Q. Did you discuss this deposition with
       19    anyone?
       20         A. Other than the City Attorney, no.
       21         Q. Besides any communications with your
       22    attorneys, did you have any communications with


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                                    Transcript of John D. Moss
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       1     anyone else about this deposition?
       2          A. No.
       3          Q. Did you bring any documents with you to
       4     this deposition today?
       5          A. No.
       6          Q. Is there any reason why you could not be
       7     in Norfolk, Virginia during the week of January
       8     14th, 2020?
       9          A. I work for the Commander of Submarine
       10    Forces.     The operational demands of the Submarine
       11    Force are not predictable; they're dependent upon
       12    our adversaries, so I cannot give you a definitive
       13    answer you would like.          I would make my best
       14    efforts.     But my job is very unpredictable as the
       15    adversaries are very unpredictable.
       16         Q. You're not going to be out of the country?
       17         A. Not to the best of my knowledge at this
       18    time.
       19         Q. You don't have a vacation planned for that
       20    week?
       21         A. Not at this time.
       22             MS. HARLESS:       I'm going to mark this as


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              14


       1     Exhibit 1.
       2                                 (Exhibit 1 was marked and
       3                           attached to the transcript.)
       4          A. Can I have time to read the whole thing?
       5          Q. Yep.
       6          A. Thank you very much.
       7              Okay.     Thank you very much.
       8          Q. So you were just taking a look at Exhibit
       9     1.   Have you seen this document before?
       10         A. I haven't seen this part of the exhibit.
       11    This is pages, I guess -- the cover page, the
       12    second page proof of service, the Federal Civil
       13    Procedures and effective things, Exhibit A.                I
       14    don't remember seeing this specific document, but
       15    I do recall the things I was being asked to look
       16    for in discovery in terms of things I was supposed
       17    to search my records for.           I can't recall if this
       18    was the exact format I reviewed, but I do find the
       19    things being asked for being familiar relative to
       20    the request for discovery.
       21         Q. Okay.      So you've never seen the subpoena
       22    or this exhibit, but you've been given the


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                                    Transcript of John D. Moss
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       1     document production request?
       2          A. I got a thing with my name on it.              It
       3     didn't look exactly like this.              The subpoena thing
       4     I have -- I have it in my phone what I received.
       5     But it had -- I was being -- giving a deposition.
       6     But this particular document you're asking here, I
       7     have not seen this particular page.                I saw a
       8     thing about giving a deposition.              But I don't
       9     recall seeing this specific page.               I just don't
       10    recall it.
       11         Q. Okay.     So if you turn --
       12         A. Not saying I didn't get it.              I'm just not
       13    recalling it.
       14         Q. Let's turn to the very last page.              The
       15    very last page says, "Councilmember John Moss
       16    indicates he does not possess any responsive
       17    documents."      Do you see that?
       18         A. That's not what I said.
       19         Q. I understand.
       20         A. What I said was all the documentation that
       21    I had that was responsive could be found in the
       22    councilmail archived documents on vb.gov.               But I


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              16


       1     did not physically possess any documentation.
       2     That was my response.
       3          Q. Okay.     I'm not sure that was communicated
       4     to us, but we'll discuss that in a second.
       5              So I'd like you to just go to page 4 of
       6     this document, which is titled Exhibit A.
       7          A. Let me number them myself.
       8          Q. At the top of this page it says Documents
       9     to be produced by John Moss.             Do you see that?
       10         A. Uh-huh.
       11         Q. So you said you haven't seen Exhibit A
       12    before but you've seen these requests, correct?
       13         A. Yes.     The content.       I just don't recall
       14    this specific exhibit.          But I do recall being
       15    asked to search all my stuff and look through my
       16    garage, look though all -- everything that I had
       17    from campaign material.
       18             I don't retain any city documents at my
       19    home because they're always available from the
       20    city.    So when my Council meeting is over, the
       21    trash can is the favorite place I go to.               I do not
       22    retain physical documents at my home.


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                                    Transcript of John D. Moss
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       1          Q. You don't retain any physical documents?
       2          A. City business?         No.    There is no need to.
       3          Q. What about non-city business?
       4          A. Well, my personal stuff, yes.
       5          Q. So this subpoena was sent to you in your
       6     personal capacity.        Do you understand that?
       7          A. I understand that.           But I'm asking my
       8     personal finances, my checkbook, stuff for myself
       9     personally, not within the scope of what you were
       10    asking for?
       11             I don't retain campaign stuff when the
       12    campaign is over, except for financial documents
       13    I'm required to retain for five years.                 When the
       14    campaign is over, it's over.             All the stuff I
       15    have, because all -- campaigns change.                 I don't
       16    retain anything, other than four-by-four signs.
       17    But I don't retain documentation.               It's not -- it
       18    doesn't have any value.
       19         Q. You don't retain any emails?
       20         A. No.     I'm not required to, and I don't on
       21    purpose.
       22         Q. Do you delete your emails?


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                                    Transcript of John D. Moss
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       1          A. I certainly do, on purpose.
       2          Q. Do you recall receiving anything of a
       3     litigation hold memorandum in this case?
       4          A. Yes, but not since my campaign was over.
       5     My campaign ended before the -- before the notice
       6     was received.       Now, if you're asking me do I have
       7     all my Council emails, that answer would be in the
       8     affirmative.      And that's why I made a comment it's
       9     either in vb.gov or I've sent copies when I
       10    respond.     Go into the councilmail@vb.com, I think
       11    it is, is the archive maintained by the City Clerk
       12    of all the City Council member emails, and they
       13    are there.
       14         Q. We'll get into that.
       15         A. Okay.
       16         Q. I just want to make sure that you've
       17    actually seen these document production requests,
       18    read them, and then looked for responsive
       19    documents.
       20         A. Correct.
       21         Q. So you have not seen this document, but
       22    you think you've seen all these production


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                                    Transcript of John D. Moss
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       1     requests, correct?
       2          A. Yes.
       3          Q. Did you search for any and all documents
       4     responsive to these requests that were in your
       5     possession, custody, or control?
       6          A. I did.
       7          Q. How did you conduct your search for
       8     responsive documents?
       9          A. First of all, I went through and looked in
       10    my garage, because that's where I keep boxes, just
       11    to see if, by chance, there was anything other
       12    than campaign banners, four-by-four signs, yard
       13    signs, did I have any stuff left that was other
       14    than that.      I found some stickers, but that wasn't
       15    responsive; just had my name on it.                So that's the
       16    first thing I did.
       17             Secondly, I went back and looked in my
       18    hard drive of my computer to look for stuff that
       19    would have been campaign material.               And that was
       20    responsive to what you asked for, other than
       21    things like my financial records which I have to
       22    keep for five years.         And I didn't find anything


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                                    Transcript of John D. Moss
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       1     that was responsive to these questions, and so I
       2     responded back I was not in possession of
       3     materials that were within the scope of the
       4     discovery.
       5           Q. What did you do to search your hard drive
       6     for responsive materials?
       7           A. Can you be more specific?
       8           Q. What search terms did you use to look for
       9     responsive documents on your computer?
       10          A. I went to look to the actual folders
       11    because that's what I have on my machine.               I
       12    looked at my campaign folders.              And that's what I
       13    went and looked for.
       14          Q. Did you look at any documents besides your
       15    campaign folders?
       16          A. No.    I had no reason to reasonably believe
       17    that I would have put something other than that on
       18    my hard drive.       I mean, it's very -- I don't have
       19    lots of stuff, but, no, I did not do a look for
       20    this expression on everything in my hard drive,
       21    no.
       22          Q. So you manually looked through only a few


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                                    Transcript of John D. Moss
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       1     folders on your hard drive, correct?
       2          A. I manually looked through the applicable
       3     folders.     I wouldn't use the adjective few or many
       4     or lots or little, but all that were appropriate.
       5          Q. And to be clear, the folders you looked
       6     through were campaign-related, correct?
       7          A. Correct.
       8          Q. Did you search your personal email account
       9     for any responsive documents?
       10         A. I certainly did.
       11         Q. How did you --
       12         A. That's not easy to do, I might add.
       13         Q. How did you conduct that search?
       14         A. I used them by the names that were
       15    provided.     I looked for anything that said
       16    election.     I looked for anything that said voting,
       17    campaign, disparity.         I can't tell you all the
       18    expressions that I used, but I did use a number of
       19    expressions to look.
       20         Q. Can you remember any others that -- any of
       21    the search terms that you used to search through
       22    your email?


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              22


       1          A. I did use things, you know, like -- I know
       2     John Perry was empty.          I ran with John Perry in
       3     1986, so I knew that that wasn't going to be in
       4     there.     But I did go back and look through all the
       5     emails that I did have, like 10,000, but I can't
       6     tell you all the search terms, but I think they
       7     were reasonable terms I used.
       8              But for the bulk of the stuff that's city
       9     business, it would all be in my vbgov account or
       10    it would be in my Council archive account.                 And
       11    I'm sure you probably were able -- and I know the
       12    city searched those to give you the answers, so I
       13    think you -- that should be fairly comprehensive.
       14         Q. So right now I'm just asking for things
       15    that are in your personal capacity, not city.
       16         A. Oh.     Campaign.      That's why I looked for
       17    the campaign terms, yes.           To the extent that I --
       18         Q. Campaign or anything else.              It's not
       19    solely related to the campaign.
       20         A. I automatically delete personal stuff
       21    after so many months.          I don't retain personal
       22    email forever.


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              23


       1          Q. What -- how many months?
       2          A. About six.       And I just don't keep them
       3     after that.      I mean, it's just -- I hope everybody
       4     else does that, too.         There is no need to keep
       5     stuff on a personal basis.            But notes to my wife,
       6     my kids, you know, that's personal.
       7          Q. So after six months your personal email
       8     account is set up to automatically delete?
       9          A. Purge.      Correct.      Yes.    I don't know
       10    whether they archive on the cloud.               You know, I
       11    don't use cloud services, so...
       12         Q. Are there any types of emails that are --
       13    that you have set the account up to not
       14    automatically purge after six months?
       15         A. Not to my knowledge.
       16         Q. Did you search your text messages for
       17    responsive information?
       18         A. I did.      I don't keep very much in the way
       19    of text messages for very long.              I can't tell you
       20    how far back that is, but I don't keep them very
       21    long.
       22         Q. How did you search your text messages?


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019               24


       1          A. I look for names.          You know, look for
       2     names.     And, then, you have to go back and scroll.
       3     That's why I'm glad I don't keep many because it
       4     takes a long time to open those up and go and
       5     look.
       6              But there was nothing that was in there
       7     that I could see that dealt with voting systems,
       8     anything within the scope of this, because that
       9     hasn't been a topic on my -- hasn't been a topic
       10    for me.     And I don't have any texts on it.             I just
       11    look, I mean --
       12         Q. When you mentioned you don't keep your
       13    texts very long, what did you mean by that?
       14         A. I try to go through there often and just
       15    delete, delete, delete, delete, and just because
       16    my phone, one, has limited storage.                That
       17    partially drives me there.            I don't have a big
       18    phone.     But I just delete my messages just as a
       19    matter of practice.
       20         Q. What kind of cellphone do you have?
       21         A. An iPhone.
       22         Q. Who is your service provider?


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              25


       1          A. T-Mobile.       But it has been Verizon, as
       2     well.
       3          Q. How long has it been T-Mobile?
       4          A. Gosh.     I don't know.        Maybe a year.     Maybe
       5     two.
       6          Q. And before that, it was Verizon?
       7          A. Uh-huh.
       8          Q. How long do you think the service provider
       9     was Verizon?
       10         A. Gosh.     I don't know.        It's been a long
       11    time.    I just know it was at least, probably, four
       12    years.
       13         Q. All right.
       14         A. But I don't remember exactly the exact
       15    dates.
       16         Q. Do you have a Google Drive or any kind of
       17    file-sharing account?
       18         A. No.
       19         Q. Are you on social media?
       20         A. Yes.
       21         Q. Which social media accounts?
       22         A. Facebook is the only social media account


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              26


       1     that I use.
       2          Q. You don't have a Twitter account?
       3          A. No.
       4          Q. Don't have an Instagram?
       5          A. I had a Twitter account with my campaign,
       6     but I have had no Twitter account since then; and
       7     it hasn't been active in a long time.
       8          Q. So there was a Twitter account for your
       9     campaign?
       10         A. Correct.
       11         Q. In what year?
       12         A. The one I just -- 2018.
       13         Q. And you think that account is inactive?
       14         A. I know it's inactive.            I haven't used it.
       15         Q. Did you search that account for
       16    responsive documents?
       17         A. I did.      I only used it two or three times
       18    in 2018.     I know my campaign wanted me to use it;
       19    I just didn't have the time.
       20         Q. You said you have a Facebook account,
       21    correct?
       22         A. Two.     I have a personal Facebook account,


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              27


       1     and I have a Coucilman John D. Moss Facebook
       2     account.     And they are open access.             I did not
       3     search those accounts because they are open to the
       4     public.     And I haven't suspended them or deleted
       5     them or otherwise manipulated them.                You can go
       6     back a long ways, since their inception.               But I
       7     did not search those accounts.
       8          Q. Do you know what year you first joined
       9     Facebook?
       10         A. No, I do not.
       11         Q. Do you have an idea?
       12         A. I do not.       Seems like forever, but I do
       13    not have a date when that happened.
       14         Q. Do you have any kind of recollection of
       15    whether you joined it when it first became a thing
       16    or --
       17         A. I do not have a recollection of when I
       18    joined.     I just don't.       It's been a long time, but
       19    I can't tell you when.
       20         Q. Do you ever post about any of the items in
       21    these document --
       22         A. I may have.


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019                28


       1          Q. -- requests on social media?
       2          A. I can't tell you if I did or did not.                 I
       3     just don't have that kind of historical cognition.
       4     But it's all there.         You can see it if I did.          I'm
       5     sure I have commented on it, but I can't tell you
       6     that I have or I haven't in an affirmative way.
       7     It's just a -- I comment on a lot of stuff, if
       8     anyone looks.       I just don't have a recollection.
       9     But I did not search Facebook, either accounts,
       10    so...
       11         Q. Okay.     And you don't have an Instagram
       12    account?
       13         A. I do not.
       14         Q. Do you have a blog of any kind?
       15         A. No.
       16         Q. A website?
       17         A. I had a website for my campaign.               It's
       18    been inactive since the election was over in 2018.
       19    That's one of the reasons why I couldn't retrieve
       20    any information from that website, because I no
       21    longer paid to maintain it.
       22         Q. So you tried to look on it for responsive


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              29


       1     material and you couldn't?
       2          A. I didn't look because it's inactive and I
       3     didn't pay for it.
       4          Q. Okay.     Any other accounts or anything else
       5     that you searched for responsive documents?
       6          A. I have no other social media accounts.
       7          Q. Any other kind of account?
       8          A. Can you be more specific?
       9          Q. Besides what we've talked about today, is
       10    there any other location that you searched for
       11    responsive documents?
       12         A. My personal dwelling.
       13         Q. Your garage, right, you mentioned?
       14         A. And my house, as well.            I mean, my house
       15    is part of my personal dwelling.              But I
       16    specifically looked in the garage because that's
       17    where I have boxes with campaign stuff in them,
       18    but they were signs and stickers and things of
       19    that nature.
       20         Q. Okay.     So let's go to the last page of
       21    this document.       And this is your -- this is the
       22    response that was given to us.              And in your


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              30


       1     response to the subpoena you said, "Councilmember
       2     John Moss indicates he does not possess any
       3     responsive documents."
       4              MR. BOYNTON:       And I'm going to put on the
       5     record here that this is in the context of my
       6     office facilitating responses that Council members
       7     are providing to you in an effort to just work
       8     through a process where the City Attorney's Office
       9     was unable to represent the Council members in
       10    their individual or personal capacities.
       11             So when we were -- and I will tell you
       12    that my office generated that term based upon
       13    information we received from the Council member as
       14    to his personal information.
       15         A. Correct.
       16             MR. BOYNTON:       We took the subpoena to mean
       17    personal information.          And that's what the
       18    response indicates.
       19         Q. Okay.     So you had indicated earlier that
       20    you thought maybe this wasn't -- this is not what
       21    you had said?
       22         A. Well, in that context, yes.              In the


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              31


       1     context -- because my response was that any
       2     government -- in my Council capacity information
       3     that I would have would either be in my vbgov.
       4     account or in the councilmail archive account.
       5     And that's where it would be.
       6              I possessed -- and this deals with what do
       7     I personally possess physically or, I guess you
       8     could say, electronically myself.               And that is the
       9     answer that is correct.
       10         Q. Did you personally withhold any documents
       11    that were responsive to any of these production
       12    requests --
       13         A. Not to the best of my knowledge.
       14         Q. -- for any reason?
       15             Sitting here today, after we've gone
       16    through this, can you think of any documents you
       17    may have that are responsive to the production
       18    requests that you did not produce to the
       19    plaintiffs?
       20         A. The only thing I think I could do is I
       21    could do a comprehensive search of my hard drive
       22    using more keywords and VF keywords you would want


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              32


       1     me to make sure that I used.             I would be happy to
       2     apply those to my hard drive and provide any
       3     material that showed up.
       4          Q. Okay.     And you didn't search your Facebook
       5     account?
       6          A. I did not.
       7          Q. But that account is public?
       8          A. Both are public.          And all comments are,
       9     per the usual precedent, retained.               I don't sensor
       10    or otherwise edit what goes on there.
       11         Q. Do you ever conduct city business via text
       12    message?
       13         A. I have, yes.
       14         Q. And do you retain those text messages?
       15         A. Two ways I do.         One, where I -- I do
       16    retain some, which is why I have them in my phone.
       17             And, secondly, when I think there is a
       18    long dialogue of those, I will cut and paste them,
       19    put them in an email, and send them to the
       20    councilmail.com archive.           Those are emails that I
       21    don't -- text messages I don't delete.
       22             And as of today, we've just established a


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019               33


       1     new service which makes it easier for us to
       2     actually automatically send them to an archive
       3     text account.       But that just started today, just
       4     so you know.      But, yes, I have conducted city
       5     business by text.
       6          Q. What kinds of things do you do over text
       7     messages?
       8          A. It could be I'm planning to put something
       9     on the agenda.       It could be I received -- I cut
       10    and pasted a text from a constituent about an
       11    issue and I send it to Nancy Bloom or the
       12    appropriate department person to answer.                It could
       13    be a text I got from a Council member.                 It could
       14    be about an appointment, which would be a
       15    privileged communication.           It could be about a
       16    personnel matter, which would be a personnel
       17    matter, and I often try to put that exemption,
       18    assertion, on that text message so people know at
       19    least I'm making that claim.             Obviously, someone
       20    else has to adjudicate that.             That's a personnel
       21    matter.
       22             It could be anything.           You know, it's a


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              34


       1     full -- in today's world, it's a -- it could be
       2     about agreeing to go speak someplace as a Council
       3     member.     It's a lot.      I would almost say it's the
       4     full spectrum of the city's business, I suspect,
       5     at any -- some point in time I have done a text
       6     message on, I would suspect.
       7          Q. Have you ever sent a text message about
       8     changing to a single-member district system?
       9          A. Not that I can recall.            I did look for
       10    that.    It's -- not that I can recall, but I may
       11    have.
       12         Q. So I want to understand how these text
       13    messages are captured by the city.               Is every -- is
       14    any text message you send that discusses city
       15    business captured by the city in any way?
       16         A. Not all.      They're still on my phone, so
       17    they can be downloaded.           Some I do, like when I
       18    say I'm going to go speak someplace.                   But if
       19    they're big, controversial issues, like when we
       20    were doing the arena, I tend to capture those,
       21    screen capture them, copy and paste them into an
       22    email, and send them to the councilmail archive.


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019               35


       1          Q. So it's just you decide when to capture
       2     the text messages and send them?
       3          A. That's correct.         There is no city policy
       4     that certainly that we have to retain either
       5     personally, which I have.           And I'm thinking maybe
       6     a couple thousand, maybe, on there.                I don't know.
       7     Quite a few.
       8          Q. So a moment ago you told me that you
       9     deleted your text messages?
       10         A. I said except for -- I'd really be careful
       11    about when I go after my Council stuff.
       12         Q. I just want to clarify.             So you don't
       13    delete any messages that may or may not discuss
       14    city --
       15         A. Correct.
       16         Q. That may discuss city business?
       17         A. Yes.
       18         Q. What if it's a text message that discusses
       19    city business but it's not one that you screenshot
       20    and send in to the city?
       21         A. That would still be on my phone.
       22         Q. Okay.


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019               36


       1          A. I will --
       2              MR. BOYNTON:       Go back and look?
       3     Absolutely.
       4          A. As a matter of fact, you can download it
       5     today before I leave.
       6          Q. So you had mentioned you searched your
       7     text messages in your personal capacity.                Did you
       8     search the text messages on your phone that are
       9     related --
       10         A. When you use a search feature, it doesn't
       11    discriminate between which texts you're searching
       12    for.    I mean, you don't, ah-ha, search city
       13    business where it says personal business.                You can
       14    just look for a topic or a subject, and it tells
       15    you everything that's responsive.               Maybe there is
       16    another way to do it.          But I'm happy when I leave
       17    here today that they can download them all and
       18    they'll screen them and give you the parts that
       19    they think is applicable to the scope.                 But I do
       20    not recall any text messages relative to the scope
       21    of this.
       22             And my record retention, I think, as a


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              37


       1     City Council member, I think is three years, if I
       2     remember correctly.
       3              MR. BOYNTON:       I don't have it in front of
       4     me.    There is a period.
       5           Q. Are you aware of whether other City
       6     Council members conduct city business over text
       7     message?
       8           A. Do I have -- has someone personally
       9     testified to me that they use text -- what do I
       10    think or what do I know?
       11          Q. Do you ever text any other City Council
       12    members about city business?
       13          A. Yes.
       14          Q. Who?
       15          A. Probably Jessica Abbott, Aaron Rouse, the
       16    Mayor, maybe -- probably Louis Jones.                  Might be
       17    some others, but those are ones I can consciously
       18    recall.
       19          Q. Mayor Dyer?
       20          A. Correct.     As a matter of fact, I just sent
       21    him one the other day.
       22          Q. What kinds of things do you text him


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              38


       1     about?
       2          A. Well, city business, I mean.               I could
       3     thumb through, but it wasn't about voting.               But it
       4     might be something about the -- well, I did talk
       5     to him about the City Manager.              I won't go into
       6     the details.      But his resignation would be
       7     something I had exchanged emails on, along that
       8     particular issue recently.
       9          Q. Texts or emails?
       10         A. Both.
       11         Q. Who did you text about the City Manager
       12    resignation?
       13             MR. BOYNTON:       I think you can say who you
       14    texted.     The contents would be legislative
       15    privilege.
       16         A. Definitely Aaron Rouse, and the Mayor, and
       17    Jessica Abbott, and possibly Louis Jones.               I'm not
       18    saying for certain.         As a matter of fact, I texted
       19    Aaron Rouse during the actual executive session.
       20         Q. Okay.     Did Mr. Hansen resign or was he
       21    fired?
       22         A. He resigned.


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              39


       1          Q. Besides Dave Hansen, any other things you
       2     can recall that you texted about with other City
       3     Council members?
       4          A. Possibly the arena.           I'd have to go back
       5     and look.     I don't want to look like I'm trying to
       6     be evasive, but, gosh, there is so much business
       7     that we conduct.        Saying it's like this, this, or
       8     this -- a number of items is probably the best way
       9     to say.     I don't really restrict myself as to
       10    what, but it would be the full spectrum of
       11    activities.
       12         Q. Would it be fair to say that it's fairly
       13    common for City Council members to text about city
       14    business?
       15             MR. BOYNTON:       I object to the form of the
       16    question.     I think you need --
       17         Q. I'm speaking --
       18             MR. BOYNTON:       I'm objecting to the form of
       19    the question.
       20             MS. HARLESS:       No speaking objections.
       21             MR. BOYNTON:       I'm objecting to the form of
       22    the question.


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                                    Transcript of John D. Moss
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       1              MS. HARLESS:       No speaking objections.
       2              MR. BOYNTON:       -- as to --
       3              MS. HARLESS:       No speaking objections.
       4              MR. BOYNTON:       I'm going to finish my
       5     objection.
       6              MS. HARLESS:       Objection to form.
       7     Otherwise, it's a speaking objection.
       8              MR. BOYNTON:       You yesterday spent about
       9     six hours talking about argumentative and asked
       10    and answered and a bunch of other things.
       11             MS. HARLESS:       Those are objections.
       12             MR. BOYNTON:       I'm putting mine on the
       13    record if you'll let me do it.
       14             MS. HARLESS:       No.    The objection is
       15    objection to form.
       16             MR. BOYNTON:       I'm putting my objection on
       17    the record.
       18             MS. HARLESS:       You did.
       19             MR. BOYNTON:       No, I have not yet because
       20    you interrupted me.         When you're done talking --
       21    he's not talking again until I put my objection on
       22    the record.


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                                    Transcript of John D. Moss
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       1              MS. HARLESS:       You did.
       2              MR. BOYNTON:       I have not yet.
       3              MS. CHLOPAK:       You don't need to raise your
       4     voice.
       5              MS. HARLESS:       You don't have to scream
       6     every objection.
       7              MR. BOYNTON:       I am responding in tone with
       8     her tone to me.
       9              MS. HARLESS:       No, you're not.
       10             MR. BOYNTON:       My objection is that the
       11    question is unclear and vague; and, therefore, I
       12    object to the form of the question.
       13             MS. CHLOPAK:       You're shouting.
       14             MR. BOYNTON:       I've just done it.          I am not
       15    shouting.     Thank you.
       16             MS. CHLOPAK:       Be professional.           Thank you.
       17             MR. BOYNTON:       I'm waiting on her being
       18    professional.       Thank you.
       19             MS. HARLESS:       I've done nothing
       20    unprofessional.
       21             MR. BOYNTON:       You've interrupted me and
       22    tried to prevent me from putting an objection on


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                                    Transcript of John D. Moss
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       1     the record.      That's unprofessional.
       2              MS. HARLESS:       I did not.       You're doing an
       3     improper speaking objection.
       4              MR. BOYNTON:       I disagree.       I can object to
       5     the form of the question for vagueness and --
       6              MS. HARLESS:       Court reporter, can you
       7     please repeat the question?            I don't remember what
       8     it was at this point.
       9              THE REPORTER:       "Would it be fair to say
       10    that it's fairly common for City Council members
       11    to text about city business?"
       12         A. I do not have a basis upon which to answer
       13    your question.       I can't speak for what's common
       14    for other Council members.            I don't have a state
       15    of mind to make that kind of assessment.
       16         Q. Is it common for you?
       17         A. Yes.
       18         Q. And you've given me the names of at least
       19    four other City Council members that you text
       20    about --
       21         A. That I have texted to, not texted about.
       22         Q. That you text city business about?


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                                    Transcript of John D. Moss
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       1          A. Correct.
       2          Q. As far as you can recall, have you ever
       3     texted any other City Council members about
       4     changing to a single-member district system of
       5     election in Virginia Beach?
       6          A. To the best of my recollection, I cannot
       7     give you an answer that I have or haven't.               My
       8     memory is not that good.           But I may have, but I
       9     can't affirmatively say that I have.
       10         Q. And if you say you may have, would those
       11    texts have been discovered when you searched your
       12    text messages?
       13         A. Should have been, yes, but I was going to
       14    say -- you're asking me a question and I'm trying
       15    to answer it.       It didn't show up or I would have
       16    provided it.      But it's more likely that would have
       17    been a personal conversation versus a text
       18    message.     I have talked with many Council members
       19    about the -- in-person on the election system.                 My
       20    views are well-known.
       21         Q. Who are the people you've talked to about
       22    the election system?


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                                    Transcript of John D. Moss
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       1          A. Well, probably every single member because
       2     we've talked about it in the informal session.                 So
       3     in that sense they've all heard my views, which
       4     are well-known.
       5          Q. So you're saying every single current
       6     member of City Council?
       7          A. Yes, because we've had informal session
       8     discussions on this, and I've expressed my views.
       9          Q. Have you discussed it with any former
       10    members of the City Council?
       11         A. Let's see who just left.             Well -- because
       12    they would have been in those informal sessions,
       13    too.    So John Uhrin would have heard that.
       14         Q. Can you spell that name?
       15         A. U-H-R-I-N.
       16             And I'm trying to think who -- there would
       17    have been Shannon Kane.           That's another one.
       18    She's a former Council member.              I'm trying to
       19    think.     We had so many changes.           Anyone who has
       20    served since I've been on City Council has had
       21    conversations collectively and in formal session.
       22    I have been in favor of a different system for a


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                                    Transcript of John D. Moss
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       1     long time.      It's not a new position that I've
       2     taken.     It's one I publicly -- I know I have
       3     expressed on Facebook at some point.                   And I've
       4     done it in many candidate forums I've expressed my
       5     view.
       6          Q. When you say you've expressed your view at
       7     candidate forums, do you remember any specific
       8     candidate forums?
       9          A. No, but we get -- some ask it more than
       10    others.     Probably the one that I definitely know I
       11    was asked was the forum held at Seatack Elementary
       12    School.     I can't remember the sponsoring
       13    organization.       I know it must sound terrible I
       14    can't recall who sponsored it, but I can't.
       15         Q. Was that in 2018?
       16         A. Correct.
       17         Q. Was it videotaped in any way?
       18         A. Not by me.       I can't see who else might
       19    have videotaped it, but it wasn't videotaped by me
       20    and I don't have a videotape of it.
       21         Q. Was there any kind of transcript that was
       22    taken at that --


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                                    Transcript of John D. Moss
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       1          A. I've never known a candidate's forum in
       2     Virginia Beach, at least on my part, that's had a
       3     transcript done.        That doesn't mean that people
       4     videotaped it.       I have no knowledge of a
       5     transcript of those events --
       6          Q. Okay.
       7          A. -- ever being transcribed.
       8          Q. Can you remember any other candidate forum
       9     where you may have discussed single-member
       10    districts?
       11         A. No, but if they asked it I would have
       12    answered it.
       13         Q. Okay.     Can you remember the name of any
       14    other former City Council members that you may
       15    have discussed single-member districts with, going
       16    back -- I know you were first selected in --
       17         A. Well, as a matter of fact, this goes
       18    back -- well, now she's deceased, but the Mayor --
       19    it would be Meyera Oberndorf; she's deceased -- or
       20    anyone who served on City Council from '86 through
       21    '90 because that was a hot topic.               You know, we
       22    would have talked about it during that timeframe.


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                                    Transcript of John D. Moss
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       1     I don't know how many of those people are still
       2     living.
       3              John Baum has passed away.             Al Balko has
       4     passed away.      Meyera has passed away.              John Perry
       5     has passed away.
       6              Then I served again in -- started in --
       7     was it '91-'92?       Served again.
       8              I served on -- there is a document that
       9     was done -- I don't possess it -- that was done by
       10    the Mayor.      It was -- when Al Balko didn't win
       11    his -- won his district but lost the election,
       12    there was a Mayor's Commission on Reapportionment
       13    or something.       I can't remember the exact name.
       14             Don Clark -- you might remember Don Clark
       15    who's a senior lawyer.          He chaired it.         It was all
       16    about, you know, the voting system, should we
       17    change it.      We actually had a referendum.             I can
       18    look at those results.          But I served on that
       19    Commission that made the recommendation to go to a
       20    modified award system.          That goes back a ways.
       21    You probably have that documentation, I suspect.
       22         Q. Did you retain a copy of that document?


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                                    Transcript of John D. Moss
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       1          A. No.     Actually, that's one of the things I
       2     was looking for I thought maybe I had.                  But that
       3     goes back a long ways.          That was '80 -- maybe
       4     1990, '91.      It was after that 1990 election, that
       5     Commission and Don Clark chaired it.                   There was a
       6     formal report issued, which I'm sure the City
       7     Clerk would have, but I do not have one.
       8          Q. And what did the formal report recommend?
       9          A. We went to a referendum.             This is my
       10    recollection of what it recommended, so give me a
       11    little break on time.          We actually had a
       12    referendum to go to a seven member ward district
       13    system of equal population and retaining the four
       14    at-large that went to -- that passed.                  It went to
       15    the General Assembly.          It passed in the House of
       16    Delegates.      It was sidetracked for a period -- you
       17    can use the pejorative if you like -- by then
       18    Senator Stolle, who's now the Sheriff, I suspect
       19    somewhat at the assistance and help of then Vice
       20    Mayor, I think it was, Will Sessoms.
       21             And it went from when it passed in the
       22    House to in the Senate saying to keep the all


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                                    Transcript of John D. Moss
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       1     at-large system but to make the districts all
       2     equal population, which is what -- this is the
       3     system we still have today.
       4              Then I believe there was another
       5     referendum -- don't hold me to the -- and I wasn't
       6     here at that time -- and the city -- wasn't a
       7     resident here -- that failed to change the system.
       8     People were asked once again if they wanted to
       9     change, and the answer was no.
       10             And there has been several efforts, you
       11    know, off and on for people to go back.                I have
       12    another referendum to that end, but that hasn't
       13    materialized at this point.
       14         Q. Okay.     So the formal report first
       15    recommended that the city hold a referendum to
       16    switch to seven single-member districts and four
       17    at-large seats?
       18         A. Correct.      That's my recollection.
       19         Q. Do you remember how that recommendation
       20    was reached?
       21         A. Well, they had -- it was the
       22    recommendation of the people who served on that


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                                    Transcript of John D. Moss
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       1     Commission.
       2          Q. Right.
       3              So how did you decide -- you were on that
       4     Commission, correct?
       5          A. Correct.      It was a long time ago, so give
       6     me some break.
       7          Q. To the best of your recollection, how did
       8     you decide that switching to seven single-member
       9     districts and four at-large would be a good idea?
       10         A. Well, first of all, we thought -- one of
       11    the biggest things that was driving it, in my
       12    personal opinion, from my point of view, is that
       13    the all at-large election system created
       14    disadvantages from a reduced competition because
       15    of money.     That was the driver.
       16             It costs so much money to run an all-city
       17    campaign that, really, it disenfranchised people
       18    who were not well-aligned with special interests
       19    that have the money.         So, therefore, special
       20    interests were getting a disproportionate
       21    representation on the Council because of how hard
       22    it was to campaign, you know, 200-plus square


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                                    Transcript of John D. Moss
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       1     miles of the city, and that single districts would
       2     provide more competition because it would reduce
       3     the capital barriers to entry to campaign.                 You
       4     could effectively campaign door-to-door, much like
       5     you can think of General Assembly districts do;
       6     and, therefore, we would get a more competitive
       7     system and people would benefit from composition
       8     that that would allow.
       9              That was my entering argument.                And, of
       10    course, the thing that stimulated it was that Al
       11    Balko was a very popular Council member in his
       12    district, obviously wasn't perceived well by
       13    special interest at large, and he won his district
       14    but he lost the election.           And that kind of -- so
       15    that -- but my view was to reduce the barriers
       16    that -- the money faces when you're trying to run
       17    a city at-large election and it basically
       18    disenfranchises people that have good messages but
       19    they can't effectively reach out to the public who
       20    they want to serve because it's such a huge
       21    dispersed community.         And it is a barrier, the
       22    entry, to this day.


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                                    Transcript of John D. Moss
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       1          Q. Can you spell the name Al Balko?
       2          A. It's Al, A-L.        I think Albert was his full
       3     official name, but don't hold me to that.               Balko
       4     is B-A-L-K-O.       He's deceased, just so you know.
       5     His nickname was the Balko Brigade.                I remember
       6     that from his campaign.           That was his slogan, the
       7     Balko Brigade.       Nice gentleman who was a retired
       8     AT&T manager.
       9          Q. So you mentioned a couple of times you
       10    thought -- your biggest reason for supporting the
       11    change to single-member districts was that the
       12    at-large system reduces competition, correct --
       13         A. Correct.
       14         Q. -- because it costs so much money --
       15         A. Correct.
       16         Q. -- to run?
       17             And people aligned with special interests
       18    have advantages; is that correct?
       19         A. Special monied interest.             They provide the
       20    money for the campaigns, and so, therefore, that
       21    creates a disadvantage for people who aren't
       22    willing to align themselves with the -- the view


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                                    Transcript of John D. Moss
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       1     and the advocacy of the monied interest in the
       2     city.
       3          Q. So when you say special monied interest,
       4     do you have anyone in particular in mind?
       5          A. You can probably use a recent campaign
       6     because I was the target of one of those.               Bruce
       7     Thompson is one of them.           But if you could go back
       8     in time, you could find -- you know, change the
       9     name, R. G. Moore.        You know, you can -- the
       10    Chamber.     You know, the political PAC of the
       11    Chamber.
       12         Q. When you say the Chamber --
       13         A. The Chamber of Commerce.             Their political
       14    PAC is definitely -- Board of Realtors, their
       15    political PAC.       You know, you just have to go and
       16    look at the financial records of those candidates
       17    and you can see the people that provide those
       18    big-dollar contributions.           It makes it very --
       19    basically, you know, that's how it works.               It's
       20    politics.     But it does -- but when you have to run
       21    at large in a big city and you want to run a
       22    campaign, and you don't have those, if you can't


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                                    Transcript of John D. Moss
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       1     communicate with the voters, you can't win someone
       2     over you can't market to.           So they have a
       3     marketing advantage and a communication advantage
       4     with the public through their financial backers.
       5     And that would be dissipated -- not eliminated but
       6     would be dissipated or mitigated by district
       7     systems.
       8          Q. So you just mentioned that Virginia Beach
       9     is a big city?
       10         A. Correct.
       11         Q. Are there any other challenges that you
       12    faced running for an at-large seat in such a big
       13    city?
       14         A. Well, since the jobs are part-time and you
       15    have a full-time employment, so if you -- so then
       16    you're just -- you're time-limited.                So if you're
       17    dollar-limited and you're time-limited, you are
       18    obviously -- you have a much more difficult thing
       19    to do.     But you know that going in up front.             But
       20    if you're asking me what are the barriers, it's
       21    just your physical time because you're working,
       22    and the time you have to spend to campaign is


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                                    Transcript of John D. Moss
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       1     reduced.     That's -- so time is a constraint.
       2          Q. Is it difficult to campaign across the
       3     whole city given how large it is?
       4          A. I'm an at-large member, so I can tell you
       5     that it is.      And so that's where you have to look
       6     at -- the fact that it's hard for me doesn't mean
       7     the at-large system is inherently flawed.               That's
       8     another conclusion I would not draw, that it's the
       9     wrong system, because the public gets to decide
       10    that, I think.       But it certainly makes it
       11    difficult for me to -- how much I can go
       12    door-to-door is evenings and weekends and canvass
       13    or how much time you have for campaign meetings or
       14    go to different forums and be out in the
       15    community, that's all true.
       16             And I'm here, so that's proof it can be
       17    done, but it takes a lot of work, and it takes a
       18    long time.      It's not -- not easy, and it's not
       19    been replicated very often.            That a poorly
       20    financed candidate makes it to the City Council is
       21    an anomaly versus a pattern.
       22         Q. Uh-huh.


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                                    Transcript of John D. Moss
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       1              I want to go back to what you mentioned
       2     about the Commission that recommended the change
       3     to the seven single-member districts and four
       4     at-large.     You said that referendum was passed?
       5          A. Correct.
       6          Q. And, then, it went to the General
       7     Assembly?
       8          A. Correct.
       9          Q. And it was passed by the General Assembly,
       10    and, then, it got sidetracked for a period?
       11         A. No.     It didn't get -- it didn't pass -- I
       12    said it passed in the House of Delegates in the
       13    General Assembly.        Glenn McClanan, then Delegate
       14    McClanan, was the sponsor of that and got it
       15    through the House, and it passed.               It then crosses
       16    over, you know, to the Senate.              And in the Senate,
       17    as I mentioned, then Senator Stolle, now Sheriff
       18    Stolle, basically highjacked the thing.                That's my
       19    pejorative characterization of it.
       20             I'm sure back then Vice Mayor Sessoms had
       21    a lot to do with that because this would have
       22    definitely been a change of the power structure


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                                    Transcript of John D. Moss
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       1     they got it converted to.           We'd still have an all
       2     at-large district system -- I mean, an all
       3     at-large voting system -- excuse me -- but that we
       4     would have -- the districts would be of equal
       5     population.
       6              An argument had been -- there was a
       7     borough called Blackwater, and it had about, you
       8     know, probably less than 4,000 people in the whole
       9     thing, but they had a Council member.                  And,
       10    obviously, the number of people that wanted to be
       11    considered to be a Council member among those was
       12    very small.      So while you had a choice to choose,
       13    you really had no choice.           Right?
       14         Q. What were the demographics of Blackwater?
       15         A. Mostly agricultural farmers.               It's a very
       16    rural area even today.          I couldn't tell you the
       17    actual ethnicity or anything, breakup of it, but
       18    it was -- until we went to the seven district
       19    system, Blackwater went away as a district seat.
       20    And what was then called -- you had Princess Anne
       21    and all that and Pungo all became one big
       22    district, now called the Princess Anne district,


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                                    Transcript of John D. Moss
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       1     because you had to have equal population.
       2              The last time we had a redrawing of the
       3     districts was after the 2020 -- after the 2010
       4     census they redrew the districts, and you now have
       5     the district names that you have today.
       6          Q. So I want to ask you a little bit about
       7     Senator Stolle.       You said that Senator Stolle
       8     highjacked the change of the electoral system.
       9     What did you mean by that?
       10         A. Well, he didn't honor the voters' will to
       11    go to a district system.           And he chose to decide
       12    that what the voters voted for is not what they
       13    needed.     I call that highjacking because the
       14    voters expressed what they wanted, and he chose
       15    that that's not what they needed.               To me, that's a
       16    highjack.
       17         Q. Why do you think he did that?
       18         A. Well, my personal view is --
       19         Q. Your personal view.
       20         A. My personal view --
       21             MR. BOYNTON:       Personal view only.
       22         A. Personal view is he and the people that


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                                    Transcript of John D. Moss
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       1     got him to do that, which I have my own suspicions
       2     but no proof, did not want the power structure of
       3     the Beach to be disrupted.
       4          Q. Why?
       5          A. Well, because they're going to lose their
       6     advantage to make decisions in the city, and then
       7     it's going to be more competitive.               And if you had
       8     a monopoly and you pretty much can control the
       9     majority of Council by how you finance campaigns,
       10    why would you want to volunteer and support a
       11    system that is going to change the balance of
       12    power on how -- the power of the voters in the
       13    city?    That's a disruptive influence.                And people
       14    tend to not like change.           That's my personal
       15    opinion.
       16         Q. Okay.
       17         A. But it's nothing to do with
       18    disenfranchising people.           It's they didn't want
       19    something that would change how power was
       20    distributed and where it rests in the city.
       21         Q. So besides Senate Stolle, you mentioned
       22    Vice Mayor Sessoms at that time?


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                                    Transcript of John D. Moss
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       1          A. At that time.        I think he -- I believe --
       2     I can't prove this, but I don't believe he acted
       3     on his own.      I do believe those people had
       4     communications, hey, this isn't what we want,
       5     despite what the people said.             But that's just my
       6     suspicion.
       7          Q. Is there anyone else you think was
       8     communicating with Senator Stolle?
       9          A. I have no idea, but I'm certain -- I'm
       10    fairly certain he was.          That's my personal
       11    opinion.     I have no documentation to that effect.
       12    But it's history.        But it's interesting.
       13         Q. You mentioned that Senator Stolle is still
       14    involved in city government, correct?
       15         A. He's the current Sheriff, which is an
       16    elected constitutional office in the Commonwealth
       17    of Virginia.      It has no legislative authorities;
       18    just the Sheriff.
       19         Q. All right.       I want to go back for a
       20    second --
       21         A. Okay.
       22         Q. -- and ask you a question about your


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                                    Transcript of John D. Moss
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       1     personal email account.
       2              You only use your personal email account
       3     to conduct city business, correct?
       4          A. Correct.
       5          Q. You don't use your virginiabeach.gov
       6     account, correct?
       7          A. Only to the extent that it forwards email
       8     to my personal account, correct.
       9          Q. Have you ever used any other email
       10    account, besides your personal email account or a
       11    virginiabeach.gov account, to conduct city
       12    business?
       13         A. I don't have any other personal email
       14    accounts.     I had a cox.net account many, many
       15    years ago, but I switched providers.                   I haven't
       16    had that for, probably, four or five years, I
       17    think.     It's been a long time since I had a
       18    cox.net account.        I don't even have access to that
       19    account.     So I'll tell you I didn't even search
       20    that because I don't use it and haven't used it
       21    and don't have that service provider.
       22         Q. Why do you use your -- only use your


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                                    Transcript of John D. Moss
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       1     personal email and not the vb.gov account?
       2          A. Because there is no legislative
       3     requirement that I do so.           It's convenient.
       4          Q. Just personal preference?
       5          A. It's convenient.          That's why I have to
       6     religiously copy to councilmail, whatever that
       7     thing is when I send stuff out, because if it
       8     comes from the vbgov account and I send it back
       9     out and copy to that account, then it's a closed
       10    loop.
       11         Q. So I want to understand that.                  If you
       12    could explain, how are your -- how are emails sent
       13    from your personal email account captured by the
       14    city's document system?
       15         A. When I go into my account on the copy to
       16    line or the blind copy to line, there is an
       17    archive account that the clerk maintains.                  It's
       18    councilmail@vb.com, I think it is.
       19             MR. BOYNTON:       vbgov.com.
       20         A. vbgov.com.       And that's where they go to.
       21    And I just send a reply.           If I don't reply to the
       22    email, then I just delete it because I know where


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                                    Transcript of John D. Moss
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       1     it came.     I don't retain something I don't respond
       2     to.    Like I got, hey, we're doing a -- a good
       3     example would be Public Affairs Office,
       4     Communication sends out all these notices:                city
       5     event, city event, city event.              I don't retain
       6     those.     I just (indicating) because I'm not
       7     responding to them.         It's just information.         They
       8     put it out.      They have it.        All Council members
       9     got it, so it's going to City Council.                 I know it
       10    came through vbgov.         I just swipe those and make
       11    them go away.
       12          Q. Does anybody else retain that email?
       13          A. Those emails would be retained.
       14             MR. BOYNTON:       They're sent through the
       15    vb.com system is what he's telling you.
       16          A. They go from vbgov.com to City Council.
       17          Q. I understand that.         I'm just trying to
       18    understand if there's any kind of gap between what
       19    is being retained.
       20             So any email that you reply to, in order
       21    for it to be recorded in -- captured in the city
       22    system, you have to cc the email account?


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                                    Transcript of John D. Moss
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       1          A. Correct.
       2          Q. Are there any emails that you send that
       3     are city business that you do not cc the city
       4     email account?
       5          A. I will never say that I've never not done
       6     it, but, to the best of my knowledge, I have not
       7     consciously omitted providing it.
       8          Q. To the best of your recollection, have you
       9     ever emailed anyone about changing to a
       10    single-member district system for City Council
       11    elections in Virginia Beach?
       12         A. I cannot recall that specifically.              I'm
       13    not saying I didn't; I just can't recall.
       14         Q. You are currently an at-large City Council
       15    member for the City of Virginia Beach, correct?
       16         A. Correct.
       17         Q. How long have you held that position?
       18         A. I was elected to this position in 2011 in
       19    a special election.         And I took office on the
       20    Thursday after the election.
       21         Q. So you've held the at-large seat from 2011
       22    to the present?


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                                    Transcript of John D. Moss
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       1          A. Correct.      I ran two reelection campaigns,
       2     2014 and 2018.
       3          Q. And, then, prior to the current time
       4     period, you also served on the Virginia Beach City
       5     Council twice before?
       6          A. Correct.      I served from 1986 to 1990 as
       7     the Kempsville borough representative.                 That's
       8     back when we had the borough -- the borough still
       9     existed before we went to the legislative change
       10    that we have today.
       11             And, then, I was elected in 1992 in the
       12    at-large race.       And I served until 1995, March
       13    15th, I believe it was, when I resigned to
       14    relocate to Tennessee.
       15         Q. Okay.     So the first time you held office
       16    was 1986 to 1990?
       17         A. Correct.
       18         Q. And you were elected to that position or
       19    were you appointed?
       20         A. Elected.
       21         Q. And, then, the second time?
       22         A. Elections were in May at that time, just


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                                    Transcript of John D. Moss
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       1     so you know.      We've changed the time when Council
       2     was elected.      They were elected in May in that
       3     timeframe.
       4          Q. When was the time of the elections
       5     changed?
       6          A. I'd have to rely upon -- I couldn't tell
       7     you.    But sometime -- I don't know the exact date
       8     when that was changed, but it was changed to
       9     November.     I can't give you the date.               You'll have
       10    to get that from someone else.              I can't recall.      I
       11    do know when we elected the Mayor in -- for the
       12    first -- gosh.       I don't want to say.              I just can't
       13    recall.
       14         Q. Okay.     Then the second time you were on
       15    the City Council was 1992 to 1995 at-large?
       16         A. Correct.
       17         Q. Were you elected in 1992 --
       18         A. Correct.
       19         Q. -- or were you appointed?
       20         A. Elected.      Yes, ma'am.
       21         Q. Why was there a gap between your time on
       22    the City Council between 1990 and 1992?


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                                    Transcript of John D. Moss
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       1          A. One, I didn't get reelected.               Special
       2     interest made sure I didn't come back.                 So I have
       3     personal experience.
       4          Q. Which election was it that you lost?
       5          A. That was 19 -- 1990.
       6          Q. What is your personal view about why you
       7     lost that election?
       8          A. It was two things.          One, there was a lot
       9     of money spent to make sure we didn't come back
       10    because only one of the incumbents came back.
       11    That was Nancy Parker.          Very close race,
       12    400-something votes.
       13             We also -- that election had been preceded
       14    by the riots at the oceanfront.              And I think the
       15    public, rightfully so -- if you run a ship
       16    aground, the people hold you responsible.                So all
       17    the people that were up for reelection, save one,
       18    bit the dust, if I remember correctly.
       19             MR. BOYNTON:       Politically speaking, to be
       20    clear.
       21         A. Yes.     Politically speaking.           Yes.
       22             And the public felt, obviously, we didn't


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                                    Transcript of John D. Moss
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       1     do a good job, but also a substantial sum of money
       2     was also spent to make sure we didn't come back.
       3          Q. So when you say a substantial amount of
       4     money was spent to make sure you didn't come back,
       5     who was spending that money?
       6          A. Well, you can look -- you have to go back
       7     and look at the financial records, but it's the
       8     same group -- it would be different names, but the
       9     same market segments:          developers, realtors,
       10    because development was a big issue at that time.
       11    You have to go back to '86 and understand the
       12    election -- if I could digress for a moment, if
       13    that's permissible.
       14         Q. Briefly, yes.
       15         A. In 1986, or prior to that, there had been
       16    a lot of high-density development approved in the
       17    City of Virginia Beach.           We grew by a phenomenal
       18    rate.    We were growing by 20-, 30,000 people a
       19    year at some of those points in there.                 This is a
       20    consequence somewhat of the Reagan defense boom.
       21    But, you know, also, interest rates were kind of
       22    high, too, so people wanting to sell product,


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                                    Transcript of John D. Moss
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       1     wanted to create a lot of high-density
       2     development.
       3              You know, the public was really upset
       4     about it.     They actually defeated, in 1985, a bond
       5     referendum for roads and schools and sewer.
       6     That's just how angry they were.
       7              So in 1986, there were five of us that ran
       8     together as The Team For Responsible Leadership.
       9     John Perry, a good friend of mine, the first
       10    African American elected to City Council, the
       11    most -- oldest person ever first elected to City
       12    Council, retired history teacher at Kempsville
       13    High School, we ran together.             It was myself,
       14    Barbara -- myself, John Perry -- gosh.                 That guy's
       15    name -- it will come back.            Sam Meekins.      Not Sam
       16    Meekins.     Sam -- his brother's got the memorial
       17    named after him at the Veterans -- at the
       18    Convention Center.        Sam -- I can't think of his
       19    last name.      And Nancy Parker.         Anyway --
       20         Q. How many --
       21         A. There were five of us.            It was called The
       22    Team for Responsible Leadership.              I don't have


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                                    Transcript of John D. Moss
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       1     that brochure either.          I wish I did.           That would
       2     be a great thing to put up on a wall in a picture
       3     frame, but I don't have it.
       4              And as a consequence, four of us got
       5     elected.     And along with the Mayor, that gave --
       6     then -- excuse me -- Meyera Oberndorf gave us five
       7     votes.
       8              Did I say we had five?           That's close.
       9              And, then, Bob Jones was an at-large
       10    Council member.       And I negotiated in my house -- I
       11    lived in Thalia at the time -- that if we voted
       12    for him for Mayor that he would vote to make
       13    Meyera Vice Mayor.
       14             This might be a story you've never heard
       15    before.     We were in my living room.             We negotiated
       16    that.
       17             In fact, that did shift the balance of
       18    power.     And Bob Jones more often than not voted
       19    with us.     And we made a lot of changes:               you know,
       20    sign ordinances, billboard ordinances, changed the
       21    nature about development.           We made -- cost a lot
       22    of people probably money that we didn't even know


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                                    Transcript of John D. Moss
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       1     in terms of what they couldn't accomplish.               And
       2     that was a very good period, I thought, of the
       3     city.
       4              But, nonetheless, that's the backdrop to
       5     give you.     You put that in the backdrop of -- put
       6     the two together:        the riot issue, which people,
       7     rightfully so, thought we didn't do what we should
       8     have done, those two things contributed along with
       9     a substantial sum of money.
       10             But we won that race in 1986 on $30,000,
       11    which is phenomenal.         That just tells you how
       12    upset the public really was with the development
       13    that had preceded, and also building up the bond
       14    referendum that defeated in 1985 including
       15    schools, which are very popular in Virginia Beach.
       16    That just gives you an idea how upset people were
       17    with the status quo.
       18         Q. Just a second ago you said people were
       19    upset about the riots and rightfully so.               What did
       20    you mean by that?
       21         A. I think they have -- our job as Council
       22    members first and foremost is always public


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                                    Transcript of John D. Moss
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       1     safety.     You know, I just come from a Navy
       2     background.      You run a ship aground, I don't care
       3     who all didn't do their job; you know, the captain
       4     loses his job just -- because your job is to make
       5     sure that's not happening.
       6              So people are holding us accountable for
       7     how we prepped for it, you know, why didn't we
       8     anticipate better, the police -- you can look at a
       9     lot of places.       In the end, the buck stops at --
       10    it's the City Council who's ultimately
       11    accountable to the public.            And they held us
       12    accountable, and they fired us.
       13             And I really can't argue with their
       14    assessment, you know.          I'm just saying that, on
       15    top of that, there was these other things going on
       16    that people certainly made sure -- and, as a
       17    matter of fact, one of the ads they ran back in
       18    1986, which was retracted when John Perry was on
       19    our ticket, they -- I don't know where they built
       20    it, but they did this -- they had us all
       21    characterized as monkeys.           They had a monkey ad.
       22    It didn't last long on TV, as you can imagine.


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                                    Transcript of John D. Moss
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       1     But they characterized the five of us running for
       2     election as monkeys, monkeying around, going to
       3     ruin the city.       But that's what they used.
       4              Well, obviously, clearly, you know, with
       5     an African American on our ticket, John Perry, you
       6     can imagine that that took on -- even then, that
       7     that had some kind of bad taste.              I'll put it that
       8     way.    Everybody can draw their own conclusions.
       9     But I think it probably helped us more than hurt
       10    us because in the end it was all the backlash just
       11    showing how arrogant some of those people were
       12    that they thought that that would -- that that
       13    would be an acceptable way of campaigning in the
       14    Beach, which it was not.           They were highly
       15    ridiculed and castigated for that effort.
       16          Q. You said the ad was on TV?
       17          A. Yes.    Not long.
       18          Q. Was it in print anywhere?
       19          A. I don't remember print, but it was run on
       20    TV.    It was a TV ad.
       21          Q. Do you know who paid for that ad?
       22          A. I do not.      I don't -- my memory of that is


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                                    Transcript of John D. Moss
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       1     just not that good.         I do remember the ad.           I know
       2     it backlashed and it disappeared rapidly.
       3          Q. Can you describe what the ad looked like?
       4          A. It was five monkeys.           Obviously, people in
       5     a suit and the (indicating) kind of thing, even
       6     the noises.      It was pretty interesting.              It's --
       7     and a vegetation kind of background.                   But just --
       8     I can't remember.
       9          Q. Did it have your names?
       10         A. I can't recall.         I just can't recall.          But
       11    I --
       12         Q. Did it say Team for Responsible
       13    Leadership?
       14         A. I can't recall that either.              I just
       15    remember that the ad came out.              We thought, oh, my
       16    gosh, how desperate can they be.              And the backlash
       17    was huge.     And it disappeared as quickly as it
       18    came along.
       19         Q. What was the backlash?
       20         A. Well, bad taste.          I think there was some
       21    view by some that it was -- I don't think that was
       22    the case personally.         But some people viewed it,


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                                    Transcript of John D. Moss
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       1     because John Perry was on our ticket, that somehow
       2     it had a racial tone to it.            I don't think that's
       3     true.    I think -- I don't think they were being
       4     that malicious.       I just think they were going and
       5     saying how can you show these people are a bunch
       6     of jokers, they're not serious.              These are the
       7     people that you think can represent the city and
       8     run the city's business?           They're going to monkey
       9     around and mess things up.            I think that was the
       10    nature.
       11             But there were parts of the community that
       12    certainly took it the wrong way and they took it
       13    in a different way.         But needless to say, the ad
       14    disappeared as quickly as it arrived.                  And I think
       15    it helped us -- in all fairness, I think it helped
       16    us rather than hurt us.
       17             MR. BOYNTON:       So we've been going about an
       18    hour.    Let's take a five-minute break, stretch our
       19    legs, use the bathroom, all that.
       20             MS. HARLESS:       I just want to ask one more
       21    question about his City Council -- earlier City
       22    Council time.


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                                    Transcript of John D. Moss
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       1          Q. Why did your time on the City Council end
       2     in 1995?
       3          A. I resigned.       And I resigned because the
       4     Navy made me an offer I couldn't refuse.                They
       5     said, We'd like you to go take this job out in
       6     Memphis, Tennessee, and if you do we'll send you
       7     to Harvard for a year later, and we'll send you to
       8     the National War College a year later.                 So I got
       9     two degrees out of it.          And I went out and did a
       10    job out there that needed to get done.                 And it was
       11    good for me, good for my family.              And I just made
       12    a choice.     It wasn't an easy choice to make, but
       13    sometimes you've got to think about family
       14    considerations in the long-term.
       15             So that's why I departed.            It wasn't
       16    anything about frustration or I thought I was
       17    going to be -- you know, any of that kind of
       18    stuff.     Other people were more disappointed that I
       19    left, and some were happy.
       20             MS. HARLESS:       All right.       Good time for a
       21    break.
       22             (A recess was taken.)


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                                    Transcript of John D. Moss
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       1          Q. Okay.     Ready?
       2          A. Absolutely.
       3          Q. All right.       Why did you decide to run
       4     again for an at-large seat in -- was it 2011?
       5          A. The special election -- that is correct.
       6     I had ran in the election in 2010.               It was the top
       7     two.    I was number three.         And, then, Rita
       8     Bellitto resigned to relocate with her spouse.
       9     And people encouraged me.           They thought I should
       10    run since I was the number three voter on the
       11    election in 2010.        And with my wife's concurrence,
       12    I decided to run.
       13         Q. Why did you decide to run?
       14         A. Because I thought there was a voice that
       15    was not being heard on the City Council, and I
       16    thought I could be an effective and competent
       17    voice and push back on the status quo a bit.
       18    That's why I ran.
       19         Q. What was the voice that you thought was
       20    not being heard on the City Council?
       21         A. Fiscal responsibility; the average citizen
       22    who pays most of the bill but gets the least


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       1     amount of the benefits.           And I thought those
       2     voices were being emasculated by money interests,
       3     which I, you know -- the decisions being made were
       4     not in the public's best interest, and a
       5     counter-voice needed to be heard.               Even if we
       6     weren't the majority, at least we got a chance to
       7     be heard on the dais.
       8          Q. You said you also ran in the 2010
       9     election?
       10         A. Correct.
       11         Q. Was that for the at-large seat?
       12         A. Correct.
       13         Q. You lost that election?
       14         A. Correct.
       15         Q. Why do you think you lost that election?
       16         A. The voters picked the other two people to
       17    be the top two.       I mean, I can't -- I don't judge
       18    the mind of the voters.           I just didn't do a
       19    successful job communicating why they should vote
       20    for me.
       21         Q. What is your current salary as a member of
       22    the City Council?


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       1          A. $28,000 a year.
       2          Q. And you mentioned earlier that you have
       3     other employment besides your position with the
       4     city?
       5          A. That is correct.
       6          Q. And what is that employment?
       7          A. I am the Director of Submarine Warfare
       8     Requirements, Warfare Development and Readiness,
       9     for Commander Submarine Forces for the United
       10    States Navy.
       11         Q. And how long have you been in that job?
       12         A. Since March the 2nd of -- March the 11th
       13    of 2002.
       14         Q. And it's based in Virginia Beach?
       15         A. No.     It's based in Norfolk, Virginia.
       16         Q. Okay.
       17         A. And Naval Support Activity Norfolk is
       18    where the Command is located.
       19         Q. Okay.     Let's switch back to your City
       20    Council job.      What are your job duties as a City
       21    Council member?
       22         A. To fulfill my oath of office.                  And more


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                                    Transcript of John D. Moss
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       1     specifically, to -- I'm a fiduciary agent for the
       2     public.     I have an oversight role.            And I have a
       3     legislative role.        And all those are a part of my
       4     overall -- I would call my accountability to
       5     fulfill my oath.
       6          Q. Anything else?
       7          A. That's it.
       8          Q. You'd agree that as a City Council member
       9     you have a lot of responsibilities, wouldn't you?
       10         A. I have all the responsibilities vested in
       11    me in the Charter, and they are extensive.
       12         Q. Do you think a City Council member is an
       13    important position?
       14         A. It's a position of public trust;
       15    therefore, yes, it is an important position.                Any
       16    position that can confiscate collectively other
       17    people's wealth and income through the power of
       18    the state is important.
       19         Q. Do you communicate directly with
       20    constituents?
       21         A. I certainly do.         I maintain -- as a matter
       22    of fact, if you look at my Facebook, you'll see


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              81


       1     what I do.      I hold town halls.          I'll be speaking
       2     someplace on Saturday.          I don't think anyone would
       3     call me a wallflower as a Council member.
       4          Q. How often do you hold town halls?
       5          A. Probably on a quarterly basis, I would
       6     say, but at least once every six months.               And
       7     sometimes I'll hold a whole bunch in all districts
       8     in the same two-month period.             Usually just before
       9     the budget I will hold a town hall in each of the
       10    seven districts just to get a feel for what
       11    people -- what's on their mind as we go forward
       12    for the budget process.
       13         Q. Besides the town halls related to the
       14    budget, where do you usually hold the town hall
       15    meetings?
       16         A. I hold them in libraries, and schools, and
       17    the EMS building on the Boulevard.               Usually always
       18    public facilities are always open to the public.
       19    Then, of course, I speak at different breakfasts
       20    or evening engagements at different civic
       21    organizations, they'll invite me to speak at, like
       22    I'm speaking Saturday at an event.


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              82


       1          Q. What is the event you're speaking at
       2     Saturday?
       3          A. Virginia Beach Taxpayers Alliance at
       4     Marian Manor on Saturday.           But I've spoken at
       5     Ruritans, you know, all of the -- sometimes church
       6     groups, you know.        It all depends.         Wherever I get
       7     invited, if I have the time to make available I'll
       8     show up.
       9          Q. So besides Facebook communications, town
       10    halls, and speaking events, are there any other
       11    ways you can think of that you interact with
       12    constituents?
       13         A. Well, at the Council meetings itself.               You
       14    know, after the Council meetings are over I'm
       15    always out in the crowd, you know, pressing the
       16    flesh, talking with people.            Before the informal
       17    sessions I'm talking to people from the public who
       18    come and sit around the table.              And, obviously,
       19    indirectly, at any time someone is watching us on
       20    TV or watching in the chambers, I guess you can
       21    say that we are interacting with the public,
       22    though not in an active way but in a passive way.


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              83


       1     They're hearing what we think.              And sometimes
       2     they'll interact with us later.
       3          Q. Do you ever text with constituents?
       4          A. Not too much.        I don't get much texts from
       5     constituents.       A lot of emails from constituents
       6     because usually they come through vb.gov because
       7     they go to the web page.           But, no, I do not get a
       8     lot of texts from constituents.              I do get emails,
       9     but they usually, almost always, come through the
       10    vbgov.     I get phone calls, too.           There are people
       11    who like to call.        I get quite a few of those,
       12    usually two or three a night.
       13         Q. Have you ever run for any public elected
       14    office besides Virginia Beach City Council?
       15         A. No.
       16         Q. Have you ever been appointed to fill a
       17    vacant seat?
       18         A. No.
       19         Q. Have you ever endorsed a candidate running
       20    for a seat on the Virginia Beach City Council?
       21         A. Oh, yes.
       22         Q. Who?


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019                84


       1          A. Well, I guess I ran with John Perry, so
       2     that would be the first place I'd start.                   That's
       3     an endorsement.       I've endorsed Robert Dean.             I
       4     endorsed Aaron Rouse.          Gosh.     I'm trying to think
       5     all the elections that have taken place.
       6          Q. If you want, you can limit it to
       7     2016-2018.
       8          A. Okay.     Thank you.       That will help me a
       9     little bit because I'm trying to go back.
       10         Q. Let's limit it to the most recent time you
       11    were reelected.
       12         A. 2018.     I endorsed Aaron Rouse.              I
       13    endorsed -- I'm trying to think who all ran in
       14    that race.      Was it Shannon Kane?          At the end I
       15    know I endorsed R. K. Kowalewitch because there
       16    was just no other good choices.              That just tells
       17    you how bad the choices were.
       18         Q. Did you endorse Sabrina Wooten?
       19         A. I did not.
       20         Q. Why?
       21         A. I looked at her financial disclosures.
       22    She is backed by Bruce Thompson, the developer


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              85


       1     where she got her money.           That is why I didn't
       2     endorse her.
       3          Q. Why did that mean you didn't endorse her?
       4          A. Well, because Bruce Thompson, one, ran a
       5     tremendous -- raised a lot of money that ran the
       6     negative campaigns against myself.               And he
       7     certainly is one of those monied special interests
       8     which I talked to; and, generally speaking, that
       9     would be an automatic disqualifier for me almost.
       10    Someone who is backed by him is not somebody who I
       11    would support on a political basis because,
       12    obviously, we don't share the same views of the
       13    future.     So that's me.       Just a discriminator.
       14         Q. Are you aware why Bruce Thompson backed
       15    Sabrina Wooten's campaign?
       16         A. I can't read his mind.            I only read what
       17    influence he exerts in the city and on the City
       18    Council, and that his views are not aligned with
       19    mine.    But I have no idea as to why he -- I can't
       20    read his mind why he endorsed Sabrina.                 I don't
       21    know.
       22         Q. Do you have a personal opinion of why he


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              86


       1     backed Sabrina Wooten?
       2          A. I do not.       I assume that she must be
       3     aligned with his interests, but I do not know why.
       4          Q. Anyone else in the 2018 election that you
       5     endorsed?
       6          A. Bobby Dyer for Mayor.            I'm trying to run
       7     through all the candidates for all the races that
       8     happened.     Oh.    I endorsed Tim Worst -- that's
       9     W-O-R-S-T -- against Barbara Henley.
       10         Q. Why didn't you endorse Barbara Henley?
       11         A. We just have different political views.
       12    And Tim Worst was aligned with my -- with my
       13    thoughts that we don't need to be constantly
       14    raising taxes, that we're misusing or borrowing
       15    authority, and we weren't in support of, like, big
       16    projects that were taking place in the city, so it
       17    was just the political alignment of objectives.
       18         Q. Uh-huh.
       19         A. I'm trying to think if there was -- that
       20    comes to mind.       I have to go back.          Those are the
       21    ones I can remember.
       22         Q. Okay.     What about 20 -- what was the


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              87


       1     next -- the year before that?
       2          A. It was 2014 is when I ran.              2014 is when I
       3     ran.    But 2016, I wasn't in that race.
       4          Q. Did you endorse anyone even though --
       5          A. I endorsed Dane Blythe against Rosemary
       6     Wilson.
       7          Q. Why didn't you endorse Rosemary Wilson?
       8          A. The same reasons I wouldn't be endorsing
       9     Wooten.     Her alignment of financial supporters
       10    were definitely not on the same political
       11    wavelength as myself.
       12         Q. Did the same people support Rosemary
       13    Wilson as Sabrina Wooten?
       14         A. I can't say all the same but some of the
       15    same.
       16         Q. What are the same?
       17         A. Bruce Thompson for one.             That's enough.
       18         Q. Any other people you can remember
       19    endorsing in 2019?        Did you endorse Jessica
       20    Abbott?
       21         A. I did.      Thank you for helping me.          I
       22    definitely endorsed Jessica Abbott.                I think I


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019                88


       1     endorsed Shannon Kane in that 2016 race, if I
       2     remember correctly.
       3          Q. Why did you endorse Jessica Abbott over
       4     Amelia Ross-Hammond?
       5          A. She was a -- not a light rail supporter,
       6     and Hammond was.        That was the biggest issue.           And
       7     I thought she had a -- she was more in touch with
       8     the interests that I had, my political agenda,
       9     than Ross-Hammond because she had a record.                But
       10    she voted -- she voted for all those budgets with
       11    budget tax increases.          That and light rail -- her
       12    fiscal positions and her support of light rail
       13    were more than sufficient to support Jessica over
       14    Ross-Hammond.
       15         Q. And, then, what about 2014?
       16         A. I can't remember that race.              That tells
       17    you how awful that is.          I can't even remember who
       18    all the candidates were.           I know I ran myself, but
       19    I can't tell you who else was in the -- I just
       20    can't recall.
       21         Q. What about 2012?
       22         A. I wasn't -- I guess I was just on Council


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              89


       1     for that 2012 race, wasn't running.                I can't
       2     recall.     I know I didn't support the current --
       3     when the Mayor ran for reelection.               I know that.
       4          Q. Are you talking about Mayor Sessoms?
       5          A. Yes.     I would not have supported him for
       6     certain.
       7          Q. You mentioned you endorsed the campaign of
       8     Aaron Rouse, correct?
       9          A. Uh-huh.
       10         Q. Why?
       11         A. I thought he represented a fresh voice.
       12    He clearly wasn't being -- as a matter of fact,
       13    wasn't being supported by Bruce Thompson.               Bruce
       14    Thompson, in fact -- I still have this letter --
       15    ran a personal letter with his financial
       16    disclosure on it telling him that John Moss,
       17    Rouse, all of us, would be the end of Virginia
       18    Beach if any of us got elected.              So not being
       19    endorsed by Bruce Thompson is clearly a good
       20    reason to support someone.
       21         Q. When you said that Bruce Thompson ran a
       22    personal letter --


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019                90


       1          A. He had a big ad.          It was, like, a letter
       2     he sent out to all his constituents, and he
       3     personally said who people should vote for and who
       4     they shouldn't vote for.           And he called us The
       5     Magnificent Seven.        And Rouse was one of those
       6     names that was on there.           I do have that piece of
       7     literature, if you thought that was in the scope
       8     of the thing.       I didn't see where they fell into
       9     the scope if you did.          I still have that on my
       10    desk.    I'd be happy to provide that.                 I didn't
       11    think it fell within this.
       12             But that was something that he ran, and
       13    mailed out to all his friends I should say.
       14    That's how I got it.         Someone sent it to me.           I
       15    don't know who he mailed it to, but someone who
       16    got it provided it to me.           That's how I got it.
       17             But I just thought Aaron represented a
       18    fresh voice.      Smart guy.       Communicates well.         And
       19    I think he has a different view than the good ol'
       20    boy network he often talked about during his
       21    campaign.     And I couldn't agree with him more.
       22         Q. What's the good ol' boy network?


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              91


       1          A. I talked about these monied interests, the
       2     Development Authority, these people that walk in
       3     there with their six votes and they, basically,
       4     listen to us but then they do what they want
       5     anyway.     And that's a personal opinion, but I
       6     think it was a perception held by the public that
       7     these aren't people you can trust.
       8          Q. Have you ever actively opposed a candidate
       9     running for City Council in Virginia Beach?
       10         A. Can you define actively?
       11         Q. Have you ever donated money to a campaign
       12    because you didn't want someone else's campaign to
       13    win?
       14         A. I think every contribution you make is
       15    that case.
       16         Q. Have you ever run an ad?
       17         A. No.     Not run an ad, no.
       18         Q. Have you ever made a public comment
       19    against a particular campaign?
       20         A. Yes.     If you're going to ask me when, I
       21    can't recall.       I know I've done Facetime videos
       22    for candidates where I've mentioned a candidate


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              92


       1     who I didn't want to get elected.               If you -- if
       2     you ask me to account when and who it was, I
       3     can't, but they're out there on the public view.
       4     I don't have them.        Some private -- private thing.
       5          Q. When you said you've done Facetime videos,
       6     what does that mean?
       7          A. You know, Facebook Live and you go out and
       8     you post it on your website -- not on your website
       9     but your Facebook site.           I have those, but they're
       10    on Facebook.      I don't have some archive video
       11    collection, something saved.             But they're out
       12    there on my Facebook.
       13         Q. All right.       Have you ever personally
       14    contributed money to a candidate running for a
       15    seat on the Virginia Beach City Council?
       16         A. Oh, yes.      Now you're going to ask me who?
       17         Q. Yes.
       18         A. This will not be an exhaustive list, but
       19    I'm just going to give you something because,
       20    obviously, their campaign reports would reflect
       21    that.
       22         Q. Uh-huh.


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              93


       1          A. Bobby Dyer, Tim Worst, Eric Wray.              He ran
       2     in the race against Wooten.            He's another African
       3     American, just to make that for the record.                Dane
       4     Blythe, Jessica Abbott.           That's a good
       5     representation.       I can't recall the people I've
       6     written a check to.
       7          Q. Has your campaign ever given money to
       8     another candidate's campaign?
       9          A. My campaign?        I do not recall writing a
       10    check during a campaign, but I'd have to go back
       11    and look to see if -- when I closed out my
       12    campaign account whether or not I wrote a check to
       13    another campaign just to close out my own account
       14    towards -- that's possible, but usually I write
       15    those checks to charity, but I won't say it didn't
       16    happen.     That's possible, but I don't recall
       17    writing any -- I rarely had enough money for my
       18    own campaign to give it to someone else.               I do not
       19    recall doing that.
       20         Q. Have you ever volunteered for the campaign
       21    of a candidate running for City Council in
       22    Virginia Beach?


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                                    Transcript of John D. Moss
                                  Conducted on September 13, 2019              94


       1          A. Oh, yes.      Since I was knee-high to a
       2     grasshopper, probably.          I've been campaigning when
       3     I was 16, way back when, so yes.
       4          Q. Okay.     What about in 2018?
       5          A. 2018.     I'm actively on the Council for
       6     2018.    I was busy doing my own race, so I didn't
       7     have much time to do stuff.            But when I was
       8     passing out literature, I did include some
       9     literature for other people.
       10         Q. Who else?
       11         A. I'm trying to -- now I'm trying to think
       12    of who was running that I would have done that
       13    for.    Probably Eric Wray.         Eric Wray.         I did do
       14    some campaigning for Eric Wray, although I was
       15    busy with my own campaign.
       16         Q. Why did you support the campaign of Eric
       17    Wray?
       18         A. Well, Eric Wray is a longtime personal
       19    friend, number one.         He's always been helpful in
       20    my races.     He's a small businessman.                And his
       21    political views are very much aligned with my own.
       22         Q. Any other reason?


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                                    Transcript of John D. Moss
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       1          A. No.
       2          Q. Did you support his campaign because you
       3     didn't prefer Sabrina Wooten?
       4          A. Well, I would have supported -- no matter
       5     who the opposition was, I would have supported
       6     Eric Wray because he's a personal friend.               But
       7     when you asked me that question about why I didn't
       8     support her, I wouldn't have -- if there had been
       9     no one else in the race, I would not have
       10    supported her because of who was backing her
       11    campaign.
       12         Q. Anyone else you can remember handing out
       13    literature for in 2018 besides Eric Wray?
       14         A. No, I cannot.
       15         Q. Okay.     What about 2016?          Do you remember
       16    volunteering on anyone's campaign?
       17         A. Well, I know I did stuff with Jessica, but
       18    I can't tell you -- you know, I did some
       19    door-to-door stuff for Jessica.              Obviously, at
       20    different events, when I spoke places, if it
       21    was -- I was there being invited as -- like, a VBT
       22    breakfast or a Taxpayer Alliance meeting or


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                                    Transcript of John D. Moss
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       1     someplace like that, I would have said I'm
       2     supporting Jessica.         But that would be the extent
       3     of it.
       4           Q. 2014?
       5           A. I can't recall.
       6           Q. 2012?
       7           A. I know I -- you're going back that far.
       8     No.    I just can't remember.          I'm certain somebody
       9     would say he did this, but I'm not recalling it.
       10          Q. In 2018, did you ever put up a yard sign
       11    for any other candidates running for City Council
       12    in Virginia Beach?
       13          A. Yard sign?      No.
       14          Q. Sticker?
       15          A. I can't see a sticker.           But when you say a
       16    yard sign, can you be more explicit?                   I'm thinking
       17    a yard sign has specific meaning in a campaign.
       18    Do you mean any kind of sign posted on a property
       19    independent if it's a yard or not?
       20          Q. Yes.
       21          A. Okay.     I didn't want to be evasive, but a
       22    yard sign has a specific meaning.               Then there is


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                                    Transcript of John D. Moss
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       1     the four-by-four signs that go up for candidates
       2     that goes on property.          You want to include that
       3     in your --
       4          Q. Yes.
       5          A. Okay.     Just making -- then I probably did.
       6     I can't tell you who gave us signs, but we went
       7     out in a truck and put signs up.              I just can't
       8     recall which candidates they would be for, but
       9     they would be one of those candidates I endorsed.
       10    But we did go out and put four-by-four signs up.
       11    Some candidates didn't have them because they
       12    couldn't afford them.          I can't tell you which ones
       13    they were, but, yes, I did go out and help and put
       14    posts in and put signs up; I just can't recall
       15    who.
       16             MR. BOYNTON:       You're killing her again, I
       17    think.
       18         A. Sorry.
       19             MR. BOYNTON:       That's a lot of words per
       20    minute.
       21         A. I'll slow down.
       22         Q. Have you ever supported a candidate


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                                  Transcript of John D. Moss
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     1     running for City Council in Virginia Beach in any
     2     other way, in -- let's just start with 2018?
     3          A. In any other way?          I'm trying to think of
     4     the ways you mentioned.           You mentioned signs.       You
     5     mentioned money.        I mentioned I did Facetime
     6     videos.     I mentioned I did some distribution of
     7     material.     And --
     8          Q. Endorsements?
     9          A. Endorsements.        I didn't do any TV ads.         I
     10    didn't do any radio ads, that I can recall.                So I
     11    would think -- I can't think of something else,
     12    but that doesn't mean there wasn't.                But I'm not
     13    recalling something we haven't captured.
     14         Q. Okay.     Can you think of any candidates for
     15    City Council who supported your campaign in any
     16    way?
     17         A. Well, Jessica Abbott has supported my
     18    campaign.     Council members, correct?
     19         Q. Uh-huh.
     20         A. Bobby Dyer, Louis Jones.             That's probably
     21    a thin list.      I'm not the most popular person.
     22         Q. What did Jessica Abbott do to support your


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                                  Transcript of John D. Moss
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     1     campaign?
     2          A. I recall Facebook stuff that she did.                   She
     3     helped critique campaign materials.                I call that,
     4     you know, a help.        And I think when she went out
     5     and about town, I'm sure she spoke on my behalf
     6     that she was supporting me.            Those are things I
     7     know that she did.
     8          Q. What about Mayor Dyer?
     9          A. He publicly stated he was supporting me.
     10    And I do recall a small campaign contribution.
     11    But that would be the extent of his known support.
     12         Q. What about Louis Jones?
     13         A. He let me put signs on his property if I
     14    chose to.     And I think he told people in the
     15    community that he was supporting me.                   But he
     16    didn't -- we didn't actively campaign together or
     17    anything of that nature.           But that's what I can
     18    think of.     He didn't make any public endorsement,
     19    if that's what you're asking.
     20         Q. Can you think of anyone else in the
     21    Virginia Beach city government that supported your
     22    campaign for City Council?


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     1           A. I probably would discourage that because I
     2     think they should remain apolitical.                   So I am not
     3     cognizant of anyone who was actively supporting my
     4     campaign, nor did I ever solicit it.
     5           Q. Does Sheriff Stolle ever support anyone's
     6     campaign?
     7           A. Elected constitutional officers is not
     8     city government, number one.             He certainly didn't
     9     support my campaign last time.              I don't know that
     10    he's ever actively endorsed me, that I'm cognizant
     11    of.    That doesn't mean that he hasn't supported me
     12    unbeknownst to me, but I've never gotten a check
     13    or anything where I've seen his name on it saying,
     14    hey, I'm for John Moss.
     15             And City Commissioner of Revenue, no.                I
     16    can't recall any -- maybe John Atkinson because he
     17    was City Treasurer.         But I don't think in 2018 he
     18    gave me money, but I don't recall if he gave me
     19    absolutely a public endorsement, but he may have.
     20    But for the most part, not any of the
     21    constitutional officers which aren't city
     22    employees, but I don't recall, you know, getting


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     1     their active endorsement.           As a matter of fact,
     2     quite to the contrary in 2014.
     3          Q. Why do you say that?
     4          A. Because they endorsed the person I ran
     5     against or was running for the empty seat.
     6          Q. Who was the person you ran against?
     7          A. Dennis Free.
     8          Q. Have you ever held any other position with
     9     a city government, whether Virginia Beach or
     10    elsewhere?
     11         A. When I was living in Germantown, Tennessee
     12    I was appointed to the Education Commission, but
     13    that Commission didn't have any direct oversight
     14    over the Shelby County Schools because Germantown
     15    was a city where the county provided schools.                It
     16    was just a liaison to the school system there.                I
     17    did serve in that capacity.            That was 1995 to
     18    19 -- sometime in 1998 when I left for Harvard, so
     19    for about a three-year period of time.
     20         Q. So very briefly, and slowly for the court
     21    reporter's benefit, what are your current policy
     22    priorities as a City Council member?


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     1          A. No tax and fee increases is number one.
     2          Q. What else?
     3          A. Two is flooding, meaning flood
     4     mitigations, and specifically a bond referendum in
     5     2020.
     6          Q. What else?
     7          A. And to successfully complete our post-May
     8     31st shooting facility realignment we have to take
     9     place.     We're redoing about $50 million worth of
     10    buildings to get everybody back to the main
     11    campus.     And that is a priority for me.
     12         Q. Would you say changing the city's
     13    electoral system to single-member districts is a
     14    priority?
     15         A. It would be a priority for me, but here is
     16    the context.      I support having -- and I have said
     17    this and continue to say it -- us having a bond --
     18    having a referendum in 2020 and letting the public
     19    vote.    I have also said I am not opposed to giving
     20    them a choice of the hybrid system and a 10
     21    district system.
     22             It's not for me to decide as a Council


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     1     member.     This government belongs to the people,
     2     and they shouldn't be denied the right to vote.
     3     And when they vote, then we should go to the
     4     General Assembly.        And unlike in the past, the
     5     General Assembly has to modify our Charter.                 And
     6     whatever the public decides is what they should
     7     do.    This is not my decision to make.                I owe it to
     8     the public so they have a right to decide for
     9     themselves.      It's their government, not mine.
     10          Q. If it were your choice, would you select a
     11    single-member district system of election?
     12          A. I personally support -- and I said this --
     13    you have asked me, so I would -- if the public
     14    wants 10, I support the hybrid system that came
     15    back -- because I think it represents a balance of
     16    competing interests in the community.                  And that's
     17    a balance against parochialism you can get from a
     18    district system.        They have their pluses and
     19    minuses.     I think it's the best point of
     20    indifference, the need of reflection on the point
     21    of the curve, of the political curve so to speak.
     22    And that's what I would support.              But I would


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     1     respect whatever the public chooses, including
     2     retaining the current system should that be their
     3     choice.
     4          Q. So just to be clear for the record, when
     5     you say the hybrid system you're referring to
     6     seven single-member districts and four at-large?
     7          A. Correct.
     8          Q. Do you know how Sabrina Wooten came to run
     9     for City Council?
     10         A. I do not.
     11         Q. Had you ever heard of Sabrina Wooten
     12    before she ran for City Council?
     13         A. I had not.       She had served on some boards
     14    and commissions, but I didn't know her.
     15         Q. Do you know anything about how her
     16    candidacy for City Council came about?
     17         A. What do you mean?          Can you be more
     18    specific?     I assume she got 125 signatures and she
     19    filed and did that.         I'm sure you're not asking
     20    that.
     21         Q. No.
     22             Do you know anything about who supported


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     1     her candidacy as a City Council member?
     2          A. I do know her initial campaign manager was
     3     Brian Kerwin.       And somewhere in the course of that
     4     campaign he was dismissed.
     5          Q. Who is -- can you spell that name?
     6          A. Brian, B-R-I-A-N, Kerwin, K-E-R-W-I-N.
     7     Kerwin.
     8          Q. Who is he?
     9          A. He's a political consultant.               And I don't,
     10    you know -- he's a local figure that's around
     11    quite a bit, but he does run campaigns.                That's a
     12    profession that he does.           I know that only because
     13    it became common knowledge, not because he called
     14    me up and said, hey, John, I just got let go or
     15    anything like that.
     16         Q. Has he helped run any other City Council
     17    members' campaigns?
     18         A. Oh, yeah.       He's been involved in a number
     19    of campaigns.       Now you're going to ask me which
     20    ones.    I can't recall.        But he's been involved in
     21    a number of Council members' campaigns and people
     22    wanting to be on City Council's campaigns.


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     1          Q. Can you remember any specific examples?
     2          A. I think he's currently supporting Rosemary
     3     Wilson's reelection campaign.             I think he worked
     4     Shannon Kane's campaign when she was on City
     5     Council.     But, really, that would be about --
     6     that's all -- not known for a fact but my best
     7     understanding.
     8          Q. Do you know how Sabrina Wooten hired --
     9     came to hire Brian Kerwin?
     10         A. No.     I don't really know anything about
     11    the workings of her campaign.
     12         Q. Okay.     And you mentioned earlier that you
     13    did not support her campaign?
     14         A. That is correct.
     15         Q. Is the only reason why you didn't support
     16    her campaign because she got money from Bruce
     17    Thompson?
     18         A. Well, as I mentioned earlier, to repeat,
     19    no matter who was in that race, I was going to be
     20    supporting a personal friend, Eric Wray.               But if
     21    he had not been in that race, I would not have
     22    supported her based on the people who are backing


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     1     them.    Principally, Bruce Thompson was an
     2     immediate disqualifier for me to support anyone
     3     who's being supported by Bruce Thompson.               It's a
     4     litmus test.
     5          Q. Are you aware of any other City Council
     6     candidates or members that supported the campaign
     7     of Sabrina Wooten for a City Council seat?
     8          A. Tell you the truth, I didn't keep track of
     9     any of that.      No.
     10         Q. Are you aware whether the Mayor supported
     11    the campaign of Sabrina Wooten?
     12         A. I know that she was a student of his at
     13    one time, but I don't know that he actively --
     14    since he was running for Mayor, I think he was
     15    trying to -- trying to make sure he wasn't taking
     16    sides.     But you can ask him.          I don't recall him
     17    or seeing a statement where he had actively
     18    endorsed her campaign.          I don't recall that.
     19         Q. Do you know how Aaron Rouse came to run
     20    for City Council?
     21         A. I do not know how he came to run for City
     22    Council.     I did meet with him after he decided to


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     1     run for City Council.
     2          Q. I'm sorry?       You did meet with him?
     3          A. Yes, after he was declared he was going to
     4     be -- he was a candidate, I did meet with him.
     5     Correct.
     6          Q. What was that meeting about?
     7          A. I think he was trying to pick my brain, in
     8     part, which I was more than willing to do, just
     9     about races, campaigns in general.               He was asking
     10    me, you know, what my priorities were.                 I was
     11    asking what his priorities were.              And, you know,
     12    he's announced he was just looking to have a level
     13    playing field.       He also thought that there were
     14    voices in the community that weren't being heard
     15    on the City Council.
     16             You know, he referenced the fact that all
     17    the time he lived in Seatack or different
     18    communities he never saw any Council members in
     19    his neighborhood, and he wanted to be on a Council
     20    to go out and reach the people who -- I don't want
     21    to say disenfranchised, but who rarely see the
     22    faces of political leaders in their neighborhood,


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     1     and he wanted to give them a voice, and that he
     2     was a capitalist, which I love.              And I think he
     3     brought a fresh view and, I thought, a youthful
     4     face on City Council with a necessary voice on top
     5     of Jessica's.
     6              And I think also being a member of the
     7     African American community, I thought that was
     8     another way to increase diversity.               And that's why
     9     I ran with John Perry back in 1986.                I supported
     10    Eric Wray, who's an African American candidate.
     11    I've always thought the Council is always better
     12    with diversity.       And I've always looked out and
     13    looked for competent people that have the right
     14    sense of virtue to seek public office.
     15             And I didn't make any commitment at that
     16    meeting, but later on I did.             But it was the first
     17    meeting we met with his campaign manager -- I
     18    can't remember his name -- at a restaurant on
     19    Lynnhaven Boulevard -- Parkway -- Lynnhaven Road.
     20    I can't recall the name of that either.                That's
     21    the first time we met.          We met other times, too,
     22    during the course of the campaign, just general


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     1     conversation.       And we did a joint thing at Mike
     2     Standing's parents' home over in Bay Colony.
     3          Q. Had you ever heard of Aaron Rouse before
     4     he ran for City Council?
     5          A. Only as a Tech football player.                I'm a
     6     fellow Hokie.
     7          Q. And we've already discussed that you've
     8     supported Aaron Rouse's campaign?
     9          A. Correct.
     10         Q. Are there any other ways that you
     11    supported his campaign, that you can think of,
     12    that we haven't already talked about?
     13         A. No.     I didn't -- I didn't write him -- I
     14    don't think I wrote him any check, any money.                  I
     15    didn't do that.
     16         Q. Are you aware whether the Mayor supported
     17    the campaign of Aaron Rouse in any way?
     18         A. It would seem logical he would have, but I
     19    can't consciously say that I know he did.
     20         Q. Are you aware of any other City Council
     21    candidates or members that supported the campaign
     22    of Aaron Rouse?


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     1          A. Jessica probably did.            I'm pretty certain
     2     Jessica did.      But after that, I wouldn't venture.
     3     I don't recall.       I know Jessica did.              I just can't
     4     recall anybody else.
     5          Q. Have any Latino candidates ever been
     6     elected to the City Council?
     7          A. No.
     8          Q. Besides Ron Villanueva, have any Asian
     9     candidates ever been elected to the City Council?
     10         A. Not to my knowledge.
     11         Q. How long have you lived in Virginia Beach?
     12         A. 19 -- maybe even -- '59 or '60.                 I came
     13    here as a young kid with my dad in the Navy, so it
     14    might have been late '59 or early '60s, in that
     15    time.    Princess Anne County then, when I lived
     16    here.
     17             Of course, I didn't live here from March
     18    15th, 1995 until I moved back in, I think it was,
     19    sometime in 2001, I believe it was, 2001.
     20         Q. Would you agree that between 1959 or 1960
     21    when you first moved here and today the minority
     22    population in Virginia Beach has grown?


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     1          A. Demographically, that's a true statement.
     2          Q. How would you describe the size of the
     3     minority population in Virginia Beach?
     4          A. If my memory serves me, the African
     5     American community is around 20 percent.                 I think
     6     that's about right.         I know we have one of the
     7     larger -- second largest Filipino American
     8     populations in the United States, a large part due
     9     to the Navy.      I don't know how big that is.             Maybe
     10    5 percent.      I don't know.       I don't know the
     11    percentages for that, but I think it's probably in
     12    that realm.
     13             And, then, probably, after that is --
     14    probably, I guess you would call it -- you used
     15    the word Latino, I think, probably comes next.                 I
     16    think the Filipino community might be larger than
     17    the Asian Pacific Islander community.                  I know they
     18    all fit in that category.           But the Filipino
     19    community here is quite large.              They're probably
     20    27 -- maybe 27 percent of the population as a
     21    whole.     That's a guess.
     22         Q. Would you agree that minorities tend to


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     1     live close to each other in Virginia Beach?
     2          A. No.     I would not say that.           There's been
     3     several studies, and I can't recount what they
     4     were, but I would say that Virginia Beach, if it
     5     has any kind of segregation it's economic versus
     6     ethnicity or racial.         Our neighborhoods are fairly
     7     integrated.
     8              In fact, the city got recognized as having
     9     some of the most integrated neighborhoods in the
     10    United States.       So I think we have -- in large
     11    part due to the large segment of our population
     12    that is either state, local, or federal government
     13    employed, and therefore has a better than average
     14    income, causes our neighborhoods to be much more
     15    integrated than what you might otherwise see.                So,
     16    no, I would not share that conclusion.
     17         Q. Which neighborhoods in the city would you
     18    classify as predominantly black neighborhoods?
     19         A. If you go back to the traditional Doyle
     20    Town, Reid Town, those were the communities --
     21    when we were doing the Community Block Program
     22    back in the '70s, those were neighborhoods that


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     1     called -- Seatack -- that were called traditional
     2     African American communities, which were free
     3     landholders going back some period of time.
     4              Over time they, too, have become
     5     integrated because of the attractiveness of the
     6     location of the land holdings.              Not saying that
     7     still they might not be predominantly minorities,
     8     but not as much as they were back in the early
     9     days of the county only because people sold out or
     10    people moved in.        They're attractive places to
     11    live.
     12             But Seatack probably is the biggest single
     13    concentration of traditionally -- in terms of
     14    neighborhoods or communities -- it's still
     15    predominantly African American -- that hasn't had
     16    substantial redevelopment to other races, for
     17    instance.
     18             So I don't know that I would say that
     19    there are dominant places that are -- where there
     20    is a majority.       I think there is places where
     21    maybe no one is a majority.            But I don't know --
     22    other than mentioning those areas, nothing comes


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     1     to mind as this is a -- oh.            Take it back.        L&J
     2     Gardens is a neighborhood.
     3          Q. How do you spell that?
     4          A. L&J Gardens.        It's a subdivision that's --
     5          Q. How do you spell it?
     6          A. L&J, with an and, Gardens.              It's between
     7     Wesleyan Drive and Baker Road, Northampton.
     8     That's the three roads that bound that
     9     neighborhood.       That neighborhood goes back, way
     10    back.    That was a traditional neighborhood of
     11    professional black businessmen and other kind of
     12    professionals, women as well.             And John Perry
     13    lived in that neighborhood.            That since, too,
     14    has -- people have moved in there.               So that's not
     15    now absolutely -- but that was a place back in the
     16    day, right on the border of Norfolk, where it was
     17    predominantly a single-family home, very nice
     18    neighborhood of black professionals.                   That's a
     19    small neighborhood.         I wouldn't characterize that
     20    as a community.       It's a neighborhood.             But I want
     21    to be as accurate as I can.
     22         Q. Can you think of any neighborhoods in the


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     1     city that you would classify as predominantly
     2     Latino?
     3          A. No.
     4          Q. Can you think of any neighborhoods in the
     5     city you would classify as predominantly Asian?
     6          A. No, for the reasons I specified earlier.
     7          Q. Following the 2010 census, the City of
     8     Virginia Beach redistricted the city's seven
     9     residency districts, correct?
     10         A. Correct.
     11         Q. You were not on the City Council at that
     12    time?
     13         A. Correct.
     14         Q. Were you involved in any way in the
     15    redistricting that took place in Virginia Beach
     16    following the 2010 census?
     17         A. No.
     18         Q. Were you involved in the hiring of any
     19    consultants to help with redistricting?
     20         A. No.
     21         Q. Even though you were not on the City
     22    Council, did you have any conversations with


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     1     anyone regarding the redistricting that was going
     2     on?
     3           A. Not that I can recall.           The people that
     4     chaired that, however, was -- Glenn Davis on the
     5     City Council and Louis Jones were the two Council
     6     liaisons who headed up that effort.                But I was not
     7     in communication with them nor anyone else.
     8           Q. Do you know who Kimball Brace is?
     9           A. Obviously not.        No.
     10          Q. You never had any conversations with
     11    Kimball Brace?
     12          A. I don't recognize the name.             Maybe if I
     13    saw a face it might help, but I don't recognize
     14    that name.
     15          Q. Do you vote in City Council elections?
     16          A. I do.
     17          Q. In which residency district in Virginia
     18    Beach do you currently live?
     19          A. I live in the Bayside district.
     20          Q. What City Council member currently
     21    represents that district?
     22          A. Louis Jones.


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     1          Q. Have you ever lived in any other residency
     2     district in Virginia Beach?
     3          A. Yes.
     4          Q. Which ones?
     5          A. I lived in the Kempsville borough district
     6     when I was elected to the Kempsville borough seat,
     7     which no longer exists.
     8          Q. Was that 1986?
     9          A. Yes.     And I lived in the Bayside district
     10    as a young adult when I was still living at home
     11    going to school.
     12         Q. Uh-huh.
     13         A. That's the three places I've lived.
     14         Q. I think you said Bayside twice, correct?
     15         A. Right.
     16         Q. Bayside and Kempsville?
     17         A. I moved and lived in Thalia, which at that
     18    time was the Kempsville borough.              It's now the
     19    Lynnhaven borough -- Lynnhaven district.               We got
     20    away from boroughs.         But it was Kempsville at the
     21    time I lived there.         So I've lived in Bayside,
     22    Kempsville, Bayside.


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     1          Q. Yep.
     2              You have been a vocal supporter to a
     3     change to single-member districts in the city for
     4     some time, correct?
     5          A. Yes.     Going back to the '80s.
     6          Q. So when was the first time you can
     7     remember supporting a change to a single-member
     8     district method of election?
     9          A. Right after -- probably in the '89-'90
     10    timeframe because, first of all, we had to get the
     11    direct election of the Mayor.             That was the first
     12    thing we worked on.         Then we went from appointed
     13    School Boards to elected School Boards.                And I was
     14    an advocate and, I'd call, maybe even the
     15    principal architect of making that happen, but
     16    getting all these positions elected, and then
     17    getting the Mayor as a directly elected versus
     18    appointed.      And then, of course, there was the
     19    Commission.      But we were pushing for that before
     20    then even.
     21         Q. So when you say that the first time you
     22    supported a change to a single-member district was


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     1     1989 and 1990, what particular thing did you do at
     2     that time?
     3          A. Talk.     You know, it might sound strange,
     4     but having a community conversation, trying to
     5     build support, make the case.             And, of course, in
     6     the 1990 election when Balko didn't win, as I
     7     talked about earlier, that -- and the people in
     8     that community were extremely disappointed that
     9     the person they wanted they didn't get, well, then
     10    the Mayor, then Mayor Meyera Oberndorf -- she's
     11    deceased -- took it on her own, based on that, to
     12    do a Mayor's Commission, which I mentioned
     13    earlier, which then led to that first referendum.
     14    And I wish I could remember the year of that, but
     15    it's escaping me.
     16         Q. What kinds of things did you do to talk in
     17    support of single-member districts?                Did you hold
     18    town halls?      Did you talk about it at City Council
     19    meetings?
     20         A. I don't recall going -- holding town
     21    halls, but anyplace I could get a platform.
     22    That's a long time ago.           It seems like now


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     1     forever.     But no, I can't recall any specific
     2     things that I did.
     3          Q. What else have you done to advocate for a
     4     change to a single-member district system?
     5          A. I can't recall.         And the City Clerk could
     6     get it, but we did put -- I don't know what
     7     legislative packet.         We did put in a proposal to
     8     have -- you know, to have the Charter changed at
     9     referendum.      I didn't get the votes of my peers.
     10    You'd have to go to the City Clerk to know when
     11    that was.     It's been since I've been on City
     12    Council this time, since 2011.              I've introduced it
     13    maybe twice.      And, of course, you know, at some
     14    point when you get no traction, you know, you
     15    realize that -- you know, you don't want to be Don
     16    Quixote, so you realize that the critical mass is
     17    not there.      But hopefully, if all the people who
     18    campaigned on it stick to their word, maybe we'll
     19    be able to put something on the ballot this
     20    November.
     21         Q. Who campaigned on it?
     22         A. Aaron Rouse did.          He said he would support


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     1     it.    So did Ms. Wooten.         She said she would
     2     support it.
     3           Q. Jessica Abbott?
     4           A. Yep.    Well, she has said she would.
     5              Bobby Dyer has indicated he could consider
     6     it.    I'll put him on the maybe column.               Of course,
     7     there is myself.        And I think that's pretty close.
     8     I think that -- I think we can get something
     9     there.     We've just got to work that coalition.
     10    But it's not because we're trying to cure an ill.
     11    We're trying to make it -- take money out of the
     12    equation so the races -- it's more open to every
     13    day citizens to run.         It's all about reducing the
     14    influence of money to run an effective campaign.
     15             And people want to have their own -- they
     16    have their own General Assembly district.                They
     17    have their own Congressman.            They want their own
     18    Council member that they can hold accountable.
     19    And they feel the at-large system precludes them
     20    from holding their district Council member
     21    accountable.      You hear that a lot from voters who
     22    come to town halls and whatnot.


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     1          Q. Do a lot of voters tell you that they want
     2     to change to single-member districts?
     3          A. A lot -- I will say the people who show up
     4     at town halls or these community meetings, yes,
     5     but that's still anecdotal.            I can't make the leap
     6     and say it's a large number because that's a
     7     statistical judgment.          I can just say --
     8     anecdotally, I would say that the people -- the
     9     majority of events I go to, that people think at
     10    least they should have a chance to choose.               Even
     11    if they don't want to change it, they do agree
     12    that people have a right the vote to choose if
     13    they want to change it.
     14         Q. So of the members of the current City
     15    Council, you told me that Aaron Rouse, Sabrina
     16    Wooten, Jessica Abbott, and yourself support a
     17    change to single-member districts, and, then,
     18    perhaps Mayor Bob Dyer does.             So if we count that
     19    up, that's five --
     20         A. A little short.
     21         Q. -- of 11?
     22         A. A little short.


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     1          Q. So would you say that the majority of the
     2     current City Council favors retaining the at-large
     3     system?
     4          A. No.
     5          Q. Why?
     6          A. I would just say the majority -- some are
     7     in favor, that's clear.           There are some who do not
     8     want to change.       They made that clear.            And I
     9     respect that.
     10         Q. Who?
     11         A. Barbara Henley is one.            She's probably the
     12    biggest advocate of retaining the current system.
     13         Q. What about Rosemary Wilson?
     14         A. I think she is, as well.             The others, I
     15    think -- sometimes we say good politicians -- have
     16    not made a public position except they didn't
     17    support my legislative packet change.
     18             MR. BOYNTON:       And I do want to be clear
     19    that you're testifying as to public positions and
     20    not as to legislative secret conversations?
     21         A. Correct.      This is just all derived from my
     22    public assessment of -- there is no executive


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     1     session or anything.         This is all my personal
     2     opinion.
     3              Thank you.
     4          Q. So between 1989 and today, besides talking
     5     in support of a change to single-member districts
     6     and putting forward proposals on the agenda to
     7     change to single-member districts, can you think
     8     of anything else you've done to support --
     9          A. I've spoken with selective members of the
     10    legislature in the General Assembly that, you
     11    know -- that I'm in support of it.               Not
     12    surprisingly -- and I would say the same thing.
     13    They said, well, if that's what the Council
     14    majority or the public says they want, then, you
     15    know, we'll support it.           I wasn't asking them to
     16    do otherwise.       I was just letting them know what
     17    my position was.        And I would say they are
     18    apolitical on the question, rightfully so.
     19         Q. Uh-huh.
     20         A. It's up to the people to decide.               If
     21    you're asking me have I spoken with people, I have
     22    just to let them know I'm out there working the


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     1     system, so to speak, to get -- you know, to get
     2     this on a referendum as something that I think
     3     deserves to be out there for the public to choose.
     4          Q. Who in the General Assembly?
     5          A. I've spoken with Delegate Knight.
     6          Q. Can you spell that?
     7          A. K-N-I-G-H-T, like in the Knights of the
     8     Roundtable.
     9          Q. Uh-huh.
     10         A. And Senator Bill DeSteph.             That's D-E,
     11    then a capital S, T-E-P-H.            And I'm trying to
     12    think of who else I might have spoken with.
     13             Delegate Fowler, one conversation.             But
     14    principally it's been -- and Jason Miyares.                He's
     15    a Delegate.
     16         Q. Can you spell that?
     17         A. Help me here.
     18             MR. BOYNTON:       M-I-Y-A-R-E-S.
     19         A. Thank you very much.
     20         Q. Thank you.
     21             Do you say the same general things?
     22         A. Yeah.     I'm just giving them heads up, hey,


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     1     I'm working this.        And I expect for them to say,
     2     hey, well, if you can build a majority on Council,
     3     if the public says this is what they want they
     4     will support it, but, rightfully so, they're not
     5     going to inject or impose their will on the
     6     public.     I just want to let them know it's
     7     something that we're working.             Just a friendly
     8     conversation.
     9          Q. So you'd agree that you've been advocating
     10    for a change to single-member districts since
     11    about 1989?
     12         A. Yes.
     13         Q. Yet, the city still utilizes an at-large
     14    method of election for City Council, correct?
     15         A. Correct.
     16         Q. Would you agree that minority groups in
     17    Virginia Beach have expressed support for a change
     18    to a single-member district system?
     19         A. I can say that minorities have.                But to
     20    say that minorities as a collective have, I can't
     21    say that I have proof of that.              When someone comes
     22    up, I'm speaking for the somebody's community, and


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     1     they're just saying that, well, what proof do they
     2     have?    You know, they don't provide you any
     3     statistical polling.         They don't have some
     4     resolution from some group adopted.
     5              So I do believe there are minorities that
     6     have come and told us that the system would work,
     7     but I don't know what the minority community
     8     that's defined demographically thinks.
     9          Q. When you say that there are minorities
     10    that have come and told you they support a change
     11    to a single-member district system, what do you
     12    mean?
     13         A. Well, they came before City Council.
     14    There is -- Andrew Jackson has come and spoken to
     15    the City Council directly.            The gentleman who --
     16    gosh.    He just left Cox Cable not too long ago.
     17    He ran for the state Senate against Wagner.                I can
     18    see his face.       A tall, thin gentleman.            I can't
     19    think of his name.        I'm terrible about names; good
     20    about faces.      He came and spoke.          Some people came
     21    out and spoke and said exactly what they wanted.
     22    And specifically, they said they wanted the 10


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     1     district system.        And they spoke at City Council
     2     and expressed that.
     3              I haven't heard anyone come forward from
     4     the Filipino community and say that.                   I haven't
     5     heard anyone who declared that they were the
     6     Latino community and say that.              And I haven't
     7     heard someone say I'm the Asian Pacific Islander
     8     community and that's what I said.               So I don't know
     9     what the community that would be considered
     10    demographic minority speaking as a group thinks.
     11    But I do know people have come up to us and say --
     12    from their people and saying I represent this
     13    group, the NAACP, or the African American
     14    Coalition Group.        But I don't know that they
     15    necessarily represent the body demographically
     16    that would be considered a minority group.
     17    That's -- I'm not trying to parse words.                  I just
     18    can't say what the minorities think because we
     19    have very integrated neighborhoods.
     20         Q. I'm not asking you to --
     21             MR. BOYNTON:       I think she's got it on that
     22    one.    Next question.


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     1          Q. Were you around for the 2001
     2     redistricting?
     3          A. Was I here?       Yes.     1995 -- no.         I was not.
     4     I had to go back and pop in the dates.                 No.
     5          Q. Is improving the diversity among the City
     6     Council members in Virginia Beach a reason why
     7     you'd support a change to a single-member district
     8     system?
     9          A. That was not the reason.
     10         Q. Is it a reason?
     11         A. It is an outcome possibly, but that was
     12    not my reason.
     13         Q. Is it a possible outcome that you would
     14    support?
     15         A. I support always the choice of the voters.
     16    It's the voters' choice, not mine.
     17         Q. Is providing minority voters an
     18    opportunity to elect candidates of their choice a
     19    reason why you support a change to a single-member
     20    district system?
     21         A. I support increasing the competition of
     22    any group, majority or minority, to effectively be


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     1     able to run for Council.
     2          Q. Besides what we've already discussed
     3     today, any other reasons why you support a change
     4     to a single-member district system?
     5          A. No.     I think I've expressed that pretty
     6     clearly.
     7          Q. Besides what we've already talked about
     8     today, do you think the current at-large method of
     9     election is unfair in any way?
     10         A. Personally, yes.          I think it
     11    disenfranchises the people's ability to run for
     12    office and be a competitive candidate, and it
     13    denies the public a better spectrum of choices of
     14    whom they can elect.
     15         Q. Why?
     16         A. Because I had mentioned earlier, to run
     17    at-large across the whole city requires tremendous
     18    financial resources, for the most part, to be
     19    effective, and, therefore, it -- the need for
     20    money reduces the competitive -- reduces
     21    competition and reduces choice to the voters.
     22         Q. Does the city's at-large election system


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     1     reduce voter turnout?
     2          A. There is no evidence of that, that I'm
     3     aware of.
     4          Q. Does the city's at-large election system
     5     reduce voter turnout among minority voters?
     6          A. I am not in possession of any information
     7     that would suggest that.
     8              MS. HARLESS:       Let's mark Exhibit 2.
     9                                 (Exhibit 2 was marked and
     10                          attached to the transcript.)
     11         Q. Mr. Moss, the court reporter has just
     12    handed you what was marked as Exhibit 2.               Have you
     13    seen this document before?
     14         A. I'm sure I've read this newspaper article
     15    before.     I don't recall specifically, you know,
     16    when I read it, but I'm a pretty good reader of
     17    the newspaper.
     18         Q. And this article is dated October 2nd,
     19    2018, correct?
     20         A. October 2nd, 2018.          That is correct.
     21         Q. And the title of the article is 2 Virginia
     22    Beach Council members want to change the city's


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     1     election system, correct?
     2          A. Right.
     3          Q. You were one of the two Council members
     4     who wanted to change the city's election system,
     5     correct?
     6          A. Correct.
     7          Q. I'd like you to turn to page 4 of this
     8     article.     The paragraph at the very top of the
     9     page says, "Six years ago Moss and state Senator
     10    Bill DeSteph, a former Councilman, made a similar
     11    effort to end at-large voting districts but
     12    couldn't persuade most Council members to get on
     13    board."
     14         A. Yep.     I told you I put something forth a
     15    couple of times.
     16         Q. What, specifically, is this referring to
     17    that you and Senator Bill DeSteph made an effort?
     18         A. Bill DeSteph had been on City Council at
     19    one time.     You may not know -- I believe we -- as
     20    a matter of fact, remember the times I told you in
     21    our legislative package we made a proposal to make
     22    a change?     I think this is one of those events.              I


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     1     couldn't remember all of them.              But we did, and we
     2     weren't successful.         He was a former Council
     3     member.
     4          Q. Uh-huh.
     5          A. That's when we did that.             We were not
     6     successful in doing so.           That is correct.
     7          Q. And you don't remember what year that was?
     8          A. No.     That would have been after 2011 when
     9     I got back on City Council.            But I can't tell you
     10    if it was 2012 -- it would have to be '12 or later
     11    because I took office in November of 2011 in a
     12    special election.        And our legislative package
     13    would have been completed.            So unless I tried to
     14    push something before Christmas, which we could
     15    have, it was 2012.
     16             MR. BOYNTON:       Again, a lot of words.         I
     17    think you think out loud.           And she's having to
     18    transcribe all of it, so --
     19         Q. Just slow down.         It's okay.       Just slow it
     20    down.
     21             If we go two paragraphs below that one on
     22    this Exhibit 2, there is a quote from you.               Do you


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     1     see that?
     2          A. I do.
     3          Q. Could you read that into the record,
     4     please?
     5          A. "It creates a scale that enables
     6     grassroots campaigning and fosters competition, he
     7     said.    The city's geography of 250-plus square
     8     miles disproportionately empowers monied special
     9     interests' influence on the voters' choices and
     10    election outcomes."
     11         Q. When it says "It creates a scale that
     12    enables grassroots campaigning and fosters
     13    competition", you're referring to single-member
     14    districts?
     15         A. Correct.
     16         Q. You'd still agree with this statement,
     17    correct?
     18         A. Absolutely.       And I believe I have restated
     19    this in my deposition.
     20         Q. Uh-huh.
     21             Would you agree that the city's current
     22    at-large system makes it difficult for minority


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     1     voters to elect candidates they prefer to the City
     2     Council?
     3          A. I think it makes it difficult for any
     4     voters to get a better choice.              I don't know that
     5     I would concur with the statement that you made.
     6          Q. All right.       You can put that one to the
     7     side.
     8              MR. BOYNTON:       She gets the sticker ones
     9     back.
     10         A. This is not a sticker one.
     11             MR. BOYNTON:       It is at the bottom.
     12             MS. HARLESS:       We're going to mark this as
     13    Exhibit 3.      And it's very big.          So there are tabs
     14    on the pages you'll need to turn to.
     15                                (Exhibit 3 was marked and
     16                          attached to the transcript.)
     17             MR. BOYNTON:       Going to the first tab?
     18         Q. I have just handed you what's been marked
     19    as Exhibit 3 by the court reporter.                I'm going to
     20    represent to you this is a subpoena that was sent
     21    to Council Member Jessica Abbott by the plaintiffs
     22    in this case, similar to the one that was sent to


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     1     you.    And the documents attached here were
     2     produced by Council Member Abbott in response to
     3     that subpoena.       Does that make sense?
     4          A. That's what it says, yes.
     5          Q. So I'd like you to turn to the first tab,
     6     tabbed page, in this document, which is page 26 of
     7     the document.
     8              MR. BOYNTON:       The pages aren't numbered.
     9     So let the record reflect we are referring to a
     10    September 28, 2018 letter from David L. Hansen to
     11    Honorable Louis R. Jones, Mayor, and members of
     12    Council.
     13             MS. HARLESS:       And we were just going to
     14    get into that.
     15             MR. BOYNTON:       Sorry.
     16             MS. HARLESS:       Unfortunately, when Council
     17    Member Abbott produced this there were no page
     18    numbers, so I tried to tab it to be helpful.
     19             MR. BOYNTON:       I was just trying to keep it
     20    straight.
     21         Q. Have you seen this document before?
     22         A. Yes.     I would have seen this at the time,


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     1     correct.
     2          Q. And you'd agree that it is just what your
     3     counsel stated on the record?
     4          A. Yes.
     5          Q. Generally, what is a General Assembly
     6     session legislative agenda?
     7          A. Annually the Council, through a public
     8     participation process, puts forth a set of
     9     proposals that we would like the General Assembly
     10    to consider and pass that would benefit the City
     11    of Virginia Beach and its residents.                   And it's
     12    adopted subsequent to a public hearing and by a
     13    majority vote.       But prior to that, obviously,
     14    individual Council members can put things in here,
     15    but that's because it's proposed.               They don't
     16    necessarily make the final vote.              They're not
     17    included in the actual package that goes to the
     18    General Assembly.
     19         Q. So I'd like you to look at the first
     20    sentence of the letter from Mr. Hansen.                  And in
     21    that he -- Mr. Hansen wrote that this was a draft
     22    of the 2019 General Assembly Session Legislative


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     1     Agenda, correct?
     2          A. Correct.      That would be the process.
     3          Q. Do you remember if the Council actually
     4     voted on the Legislative Agenda on October 2nd,
     5     2018?
     6          A. We did have a vote on that day.                 I assume
     7     that's the day we voted.           I can't remember if we
     8     deferred it or not.         It would be in the month of
     9     October that we normally would adopt it.                  I cannot
     10    recall -- sometimes we do deferrals.                   And it might
     11    have been adopted later.           But I do recall that we
     12    did adopt a legislative package in October.                  I
     13    don't know that we actually did it on the 2nd.
     14         Q. Okay.     And I'd like you to look at the
     15    second proposed agenda item.             And this is an
     16    agenda item proposed by you and Council Member
     17    Abbott to have an amendment to the City Charter to
     18    change the seven residency districts to seven
     19    single-member districts, correct?
     20         A. Correct.
     21         Q. Was the amendment to change to seven
     22    single-member districts added to the 2019 General


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     1     Assembly Session Legislative Agenda that was
     2     ultimately passed by the City Council?
     3          A. It was not adopted by a majority of the
     4     City Council.
     5          Q. Why not?
     6          A. Well, I can't speak for whether people who
     7     voted no or not to include it, but they judged it
     8     to be not in the best interest of the city is all
     9     I can judge -- convey.          But I don't know their
     10    specific reasons.
     11         Q. Since asking to place this item on the
     12    2019 General Assembly Legislative Agenda, have you
     13    done anything else to follow up on this request?
     14         A. We've -- if I remember right, we did talk
     15    about it at the February retreat.               It was a topic
     16    of discussion.       But no direction was provided or
     17    guidance, but it was a topic of discussion.                But I
     18    can't say that I've done anything -- we did not
     19    put forth a proposal in the legislative package
     20    this year to do this because no one sponsored
     21    something to go forward, and so it's not a part of
     22    this year's package thus far.


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     1          Q. When you say you talked about the
     2     single-member district issue at the February
     3     retreat, what do you mean?
     4          A. Talking about the need to change the
     5     manner in which Council should be elected.                 It's
     6     come up in a couple of formal sessions.                 I can't
     7     tell you which ones because I don't remember.
     8     There have always been people representing their
     9     views.
     10             We talked about having a referendum in
     11    2020 and -- at one of those meetings.                  And some
     12    people expressed, well, if they're going to do
     13    that we have to have this, you know, huge
     14    education campaign so people know what they're
     15    going to do.      But that's the extent of it.             Once
     16    again, no direction, no consensus; just dialogue.
     17         Q. Can you remember anything else that was
     18    said about it?
     19         A. No.
     20             MR. BOYNTON:       Public sessions you're
     21    referring to?
     22         A. Yeah.     These are all public sessions.


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     1     Workshop sessions are informal sessions, nothing
     2     closed.     These are just -- if you went back and
     3     looked at the proceedings on video, you can see --
     4              MR. BOYNTON:       The reason I'm asking for a
     5     clarification is because to the extent they were
     6     private conversations that would implicate
     7     legislative privilege.
     8          A. Okay.
     9          Q. So --
     10         A. These are public, in a big public setting
     11    where the public could be present.
     12         Q. That's --
     13             MR. BOYNTON:       I'm not trying to --
     14             MS. HARLESS:       No.    No.
     15         Q. Is the retreat considered public?
     16         A. It is public.        The citizens come to it.
     17    It's not televised.         And it wasn't recorded.
     18    There is not transcripts maintained of it.               But
     19    the public can attend.
     20         Q. Is there anything else you remember from
     21    the retreat?
     22         A. No.


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     1          Q. Okay.
     2          A. I'm just trying to be as complete as I
     3     can.
     4          Q. Was there a public hearing about the
     5     proposed items for the 2019 Legislative Session
     6     Agenda?
     7          A. Yes.     There is a public hearing.
     8          Q. Were you at that public hearing?
     9          A. I was.
     10         Q. Do you remember if it was only in October
     11    2018?
     12         A. It was.      I just can't recall -- we would
     13    have held a hearing independent of whether or not
     14    we voted.     I just can't recall if we deferred it
     15    or did something.        That's why I say I don't know
     16    that we voted on the 2nd.           But if that was the
     17    date for the public hearing, we would have had the
     18    public hearing on the adoption date, I think.                   The
     19    City Clerk can confirm that.
     20         Q. Okay.     Are there usually transcripts of
     21    public hearings?
     22         A. You have to ask the City Clerk.                I know


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     1     they keep minutes, but I think -- unless it's
     2     transcripts expressly requested, I don't know that
     3     they keep a word-for-word transcript.                  The City
     4     Clerk would have to answer that question.
     5          Q. Was the proposed amendment to change to
     6     seven single-member districts discussed at the
     7     public hearing?
     8          A. I can't recall what the speakers said.                I
     9     can't recall.
     10         Q. Have you personally taken any action on
     11    the proposed agenda item of a change to
     12    single-member districts since the Council voted on
     13    the 2019 Legislative Agenda?
     14         A. Other than just general discussions, which
     15    I referenced earlier I participated in, I have not
     16    been out actively in the community advancing this
     17    as an issue.      I've been consumed with addressing
     18    the flooding problem.
     19         Q. So you've been focusing on other issues?
     20         A. Correct.
     21         Q. Would that be fair?
     22         A. Correct.


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     1          Q. Why did you propose to make seven of the
     2     seats single-member districts but keep three
     3     at-large?
     4          A. Well, four at-large --
     5          Q. Four at-large?
     6          A. -- including the Mayor.             As I mentioned
     7     earlier, I believe there is an -- all district
     8     systems tend to -- not unlike the House of
     9     Representatives, they tend to promote more vote
     10    trading which, generally, has the impact of
     11    increasing the size and the expense of government
     12    because everybody is trying to get something in
     13    their district, you know, to take back the bacon
     14    so to speak.      So there is that aspect.             So they
     15    tend to be -- have a trend to spend more.
     16             In order to -- then there is a balance
     17    that that's, like, the Senate -- people looking at
     18    the broader interest of the city and looking at
     19    larger fiscal issues and understand the bigger
     20    consequences.       So that's one of the reasons why I
     21    think that having a hybrid system is better.
     22             Secondly, district people tend to get


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     1     recognized for advancing their district interest
     2     because now they're exclusively accountable just
     3     to that district, just like the Congressmen are.
     4     But there are issues that are bigger for the
     5     bigger at-large city that need advocacy, as well,
     6     not unlike the U.S. Senate, someone who's speaking
     7     for the state as a whole.           And the at-large system
     8     provides that voice also to be heard.                  And you
     9     need the competition between the larger macro as
     10    the city and the more parochial issues of
     11    districts.      That's, also, a type of competition.
     12    And competition always, generally, benefits the
     13    public.
     14             So while single districts promotes
     15    competition in a different way, you need to
     16    balance that out so at the end, like a balanced
     17    portfolio, you get the optimal decision-making and
     18    ultimately the best public interest calculus comes
     19    out.
     20         Q. This proposal would have called for the
     21    seven single-member districts to be in place for
     22    the next round of redistricting, correct?


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     1           A. Correct.
     2           Q. All right.      I'd like you to turn to page
     3     29 of this document, which I will represent to you
     4     is the second tab.        This is a document that was
     5     produced by Council Member Jessica Abbott.                It
     6     starts with two paragraphs of bolded text at the
     7     top and is a written summary by Council Member
     8     Abbott of her top priorities for the 2019 Council
     9     retreat.     Would you like a second to read through?
     10          A. I've read that second paragraph.
     11          Q. The whole document.
     12          A. The whole document?
     13             MR. BOYNTON:       She has many, many pages
     14    here of that.
     15             Is there a part you'd like him to focus
     16    on?
     17          Q. I'd like you to read -- I want you to
     18    focus on the next page, the very bottom of the
     19    next page.      That, also, goes on to page 31.            I'm
     20    looking at the very bottom down there.                 It's a
     21    paragraph that starts, "I favor a district voting
     22    approach..."      Do you see that?


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     1          A. I do.
     2              MR. BOYNTON:       So review that.
     3          A. Okay.
     4          Q. So in that first part Ms. Abbott writes
     5     that she favors a district voting approach and the
     6     redistricting of 10 voting districts through the
     7     City of Virginia Beach to singularly elect their
     8     district representative and the Mayor to be
     9     elected at large.
     10             Would you also support a proposal of 10
     11    single-member districts?
     12         A. As I stated earlier in my deposition, I
     13    would favor both questions being asking, asking
     14    the public do they choose to have a hybrid system
     15    or would they prefer to go to 10 district systems.
     16    And I would accept the judgment of the public.
     17    But I would be an advocate for the hybrid system.
     18    But ultimately it's a choice of the public to
     19    make, and I would respect that choice.
     20         Q. Would you oppose -- if the public
     21    supported a 10 single-member district system,
     22    would you oppose it?


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     1          A. As I just stated, if the public in a
     2     referendum votes in the majority that this is the
     3     system they want, I'm a voice of the public, not
     4     my own voice, and I would be a strong advocate for
     5     the voters' choice.
     6          Q. All right.       In the next sentence
     7     Ms. Abbott writes, "District elections give
     8     geographically concentrated groups of voters a
     9     better chance of being represented."
     10             Do you see that?
     11         A. Yes, I do.
     12         Q. Would you agree with that statement?
     13         A. I would rephrase that to say that it gives
     14    the people who live in that district a better
     15    ability to hold them accountable.               That's not the
     16    same thing as they will be more responsive, but
     17    they can hold them accountable.
     18         Q. So the sentence says, "District elections
     19    give geographically concentrated groups of voters
     20    a better chance of being represented."
     21         A. I think --
     22         Q. It doesn't say anything about --


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     1              MR. BOYNTON:       You said "therefore being
     2     more responsive."
     3              MS. HARLESS:       No.    No.    You're looking at
     4     a different sentence.
     5              MR. BOYNTON:       I'm sorry.
     6          Q. I'm looking at the very next sentence
     7     following the one we just discussed.                   It's on the
     8     bottom of the page.
     9          A. "Being represented."           I would concur with
     10    that.    I'm sorry.      I thought you said in
     11    responsive.
     12         Q. So just for the record, just to get the
     13    record straight, the sentence says, "District
     14    elections give geographically concentrated groups
     15    of voters a better chance of being represented."
     16         A. That is correct.
     17         Q. And you'd agree with that?
     18         A. I would.
     19         Q. Okay.     Now, let's turn to the next page.
     20    And I'm looking two sentences down that starts "I
     21    believe that incumbents..."            Do you see that?
     22         A. I do.


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     1          Q. Ms. Abbott states, "I believe that
     2     incumbents would find themselves to be less
     3     insulated from the competition of challengers
     4     because it is easier and less costly to run a
     5     grassroots campaign in a district consisting of
     6     roughly 30,000 neighbors rather than 300,000
     7     voters in the largest city of Virginia."               Would
     8     you agree with that?
     9          A. I think that's a truism.             Yes.
     10         Q. Now, further down in the paragraph in the
     11    sentence that starts most U.S. -- "Most large U.S.
     12    cities..."      Do you see that?
     13         A. Uh-huh.
     14         Q. Ms. Abbott writes, "Most large U.S. cities
     15    with populations over 200,000 people use district
     16    voting, and our outdated hybrid system should be
     17    modernized to reflect the current needs of our
     18    city and its citizens."           Do you agree with that
     19    statement?
     20         A. I don't know that to be factually true.
     21    There is no footnote.          Relative to most large
     22    cities, I don't know what the universe of large


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     1     cities is.      And I don't know if that's 10 large
     2     cities, 50, that "most" defines.              So I can't
     3     concur with the accuracy because it's not
     4     footnoted as to the source of it.
     5          Q. Okay.
     6          A. And furthermore --
     7              MR. BOYNTON:       Continue if you want.
     8     That's fine.      I just --
     9          Q. Would you agree that the city's current
     10    hybrid system is outdated?
     11         A. If you say the current system is outdated,
     12    but you cannot extrapolate that to mean that if
     13    you went to seven district systems it would be
     14    outdated.     So if you said the current system, the
     15    answer would be yes.
     16         Q. So all I'm asking is would you agree that
     17    the city's current hybrid system is outdated?
     18         A. All at-large voting, correct.
     19         Q. Do you think the city's current hybrid
     20    system is unusual in any way?
     21         A. Oh, it's extremely unusual.
     22         Q. Why?


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     1          A. Well, if I remember correctly, it had to
     2     be validated by a Supreme Court decision, if I
     3     remember correctly, when it was first put together
     4     of the borough district systems.              And it's kind of
     5     unusual in that regard.           It's very unique.        But it
     6     goes back.      If you look at the history of the city
     7     at the time, it's certainly self-explanatory as to
     8     why we had that system to start with.                  But I don't
     9     know you want to go into a history lesson here,
     10    but, if you do, I'm happy to share it.
     11         Q. I'm more interested in why you think the
     12    system is unusual.
     13         A. Well, it's unusual because it represents
     14    what was necessary at the time of the merger of
     15    the City of Virginia Beach with the County of
     16    Princess Anne, to get something that both the
     17    agricultural lawyers and the city could live with
     18    and accept to create the merger.              So it's in the
     19    context of its conception that makes it unusual.
     20    And without that understanding, you wouldn't know
     21    how it ever got to be.          But it is the uniqueness
     22    of how the little resort strip and the county came


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     1     to be one big city that makes it unique.                  And
     2     those circumstances haven't been replicated
     3     elsewhere.      And so that's why it's an unusual
     4     situation.
     5          Q. Do you know of any other cities that have
     6     a system similar to Virginia Beach's?
     7          A. I do not.
     8          Q. All right.       I'd like you to turn to page
     9     71 of this, which I will represent is the third
     10    tabbed page here.
     11             MR. BOYNTON:       And just, may I -- just put
     12    some context.
     13             MS. HARLESS:       I am about to.
     14             MR. BOYNTON:       Thanks.
     15         Q. It's actually that page, the page with the
     16    tab on.     He was looking at it.           You were looking
     17    at the other page.
     18             I'm directing you to the very bottom of
     19    the page where there is bolded text.                   And it says
     20    "December 9th, 2017 - Data from Contested District
     21    Seat Elections in Virginia Beach and Norfolk Since
     22    2008."     Do you see that?


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     1          A. Uh-huh.      I do.
     2          Q. If you turn the page, this continues.               And
     3     there is an image and a link to a Facebook post by
     4     Jessica Abbott.       Do you see that?
     5          A. I do.
     6          Q. Underneath the link the text states, "Last
     7     week, a lawsuit was filed against the City of
     8     Virginia Beach regarding violations of the Voting
     9     Rights Act.      The lawsuit makes the argument that
     10    the city dilutes minority voting strength on the
     11    Virginia Beach City Council from an at-large
     12    voting system."       Do you see that one?
     13         A. Uh-huh.
     14         Q. And one paragraph below Ms. Abbott writes,
     15    "I support much of what this lawsuit seeks to
     16    accomplish."
     17             Do you also support much of what the
     18    plaintiffs' lawsuit in this case seeks to
     19    accomplish?
     20         A. No.
     21         Q. Why?
     22         A. Because I think this choice belongs to the


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     1     voters to decide in a referendum and shouldn't be
     2     adjudicated in a court of law.
     3          Q. And the next paragraph Ms. Abbott states
     4     that "The only requirement to serve in a district
     5     seat is residency.        It is entirely possible for a
     6     candidate to lose their own district but win
     7     elsewhere in the city and still get elected."
     8          A. Yes.
     9          Q. I know we've discussed this earlier.               You
     10    would agree with that statement, correct?
     11         A. Correct.      It's happened -- in 2018 it also
     12    happened.     Louis Jones lost his district but won
     13    citywide.     David Nygaard ultimately disqualified,
     14    lost -- won his district.           And John Uhrin, who was
     15    the incumbent, won his district but lost citywide.
     16    So you had both situations take place.                 And that
     17    was in the most recent Council election.
     18         Q. That also happened to Al Balko?
     19         A. Yes.     And that was back in 1990.
     20         Q. Can you think of any other examples?
     21         A. Those are the only ones I can recall.
     22         Q. Jessica Abbott endorsed your campaign for


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     1     City Council?
     2          A. Correct.
     3          Q. Besides what we've discussed already
     4     today, have you had any conversations with any
     5     current City Council members about changing to a
     6     district-based, rather than at-large, election
     7     system for City Council seats?
     8          A. I am certain at times and dates that I
     9     cannot specify that Jessica and I have had
     10    conversations.       And I might have had some with
     11    Rouse.     This is -- you know, it could have come up
     12    at a social event, anywhere.             It's just not in
     13    a -- in a casual sense, not like, oh, let's have a
     14    meeting and sit down and talk about this.               In the
     15    course of other conversations it could come up,
     16    but I couldn't tell you when or what places.
     17             MR. BOYNTON:       Again, because we're getting
     18    into the more private nature of conversations,
     19    identify who you're talking with but don't get
     20    into the content of the conversation.
     21         A. It would be most likely Jessica, and
     22    probably Aaron.       Probably not the others.


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     1          Q. Were any of those conversations outside of
     2     the context of closed City Council meetings?
     3          A. Oh.     Well, yes.
     4          Q. Do you remember any of them specifically?
     5          A. Well, this gets back to the one-on-one
     6     conversations.       I'm not qualified --
     7              MR. BOYNTON:       You can say the context of
     8     the conversation.        But our position is they're
     9     private conversations.          They don't have to be
     10    physically in the halls of government to be
     11    protected by legislative privilege.                You can
     12    answer the question as to who you had the
     13    conversations with and where they were.
     14         A. I'm sure the context was about do you
     15    think we can get the votes to have a referendum in
     16    2020.    I'm sure they're in that nature.
     17             MR. BOYNTON:       Again, you're asking content
     18    as opposed to --
     19         A. All I can say, the general nature was
     20    about that issue.
     21         Q. Are you following your counsel's
     22    instructions and you're not waiving the


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     1     legislative privilege?
     2          A. I'm not waiving legislative privilege, no.
     3          Q. Besides what we've already discussed
     4     today, have you had any conversations with any
     5     former City Council members about changing to a
     6     district-based --
     7          A. No.
     8          Q. -- rather than at-large system?
     9          A. No.
     10         Q. Besides what we've already discussed
     11    today, have you had any conversations with the
     12    current Mayor of Virginia Beach about changing to
     13    a district-based, rather than at-large, election
     14    system?
     15         A. Nothing that wouldn't be covered by
     16    legislative privilege, no.
     17         Q. Besides what we've already discussed
     18    today, have you had any conversations with any
     19    former Mayor of Virginia Beach about changing to a
     20    district-based election system?
     21         A. No.
     22         Q. Why do you laugh?


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     1          A. Just Mayor Sessoms and I had very few
     2     conversations.
     3          Q. Besides what we've discussed already
     4     today, have you had any conversations with anyone
     5     else about changing to a district-based, rather
     6     than at-large, election system for City Council
     7     seats?
     8          A. Not that I can recall.            It's not a hot
     9     topic.
     10         Q. Have you done any interviews with
     11    reporters before about it?
     12         A. Obviously, I did those interviews
     13    (indicating).       But we've talked about it.           If I
     14    did, they would be reported.             You're asking me can
     15    I recall them.       No.    I get asked lots of
     16    questions, but I can't recall.              I'm not trying to
     17    be evasive.      I just can't remember.
     18         Q. Do you ever talk to constituents about it?
     19         A. If they ask.        It's not something that
     20    would stick in my brain and say, oh, on this day I
     21    spoke with so and so.          But if someone asks me
     22    about it, would I be responsive?              Yes.     But do I


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     1     have a recollection of those?             No.    But I do tell
     2     them the position which I've shared here.
     3          Q. Uh-huh.
     4              And just to be clear, there have been two
     5     referendums in the city's past on the change to a
     6     single-member district system?
     7          A. One took place when I was not here, so I
     8     don't have the -- that's what -- the outcome.                  One
     9     was yes and one was no.           You'd have to go back to
     10    the City Clerk to get those results.
     11         Q. What was the referendum that took place
     12    when you weren't there?
     13         A. That would be the one that was no.
     14         Q. Which year?
     15         A. You're going to have to go to the City
     16    Clerk and ask.       I just don't recall.              But I know
     17    there was a second one.           And it's often mentioned
     18    by the other side when it comes up.
     19         Q. What do you mean, mentioned by the other
     20    side?
     21         A. People talk about, hey, people said they
     22    wanted it.      And, then, people on the other side


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     1     who don't support it say, oh, yes, but remember we
     2     had another referendum and the people said they
     3     wanted to keep the current system.               So there are
     4     two different answers at two different points in
     5     time.    In the end, it's the public's choice,
     6     right?
     7          Q. All right.
     8              MS. HARLESS:       We're going to mark another
     9     exhibit.     I believe this is Exhibit 4.
     10                                (Exhibit 4 was marked and
     11                          attached to the transcript.)
     12         Q. Mr. Moss, you've just been handed what was
     13    marked Exhibit 4 by the court reporter.                Similar
     14    to the document we just looked at or the set of
     15    documents we just looked at, I'm going to
     16    represent to you that this is a subpoena that was
     17    sent to Council Member Jim Wood by the plaintiffs
     18    in -- I guess is he a Council member or Vice Mayor
     19    or both?
     20         A. Vice Mayor.
     21             MR. BOYNTON:       Presently Vice Mayor.
     22         Q. I'll represent to you this is a subpoena


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     1     that was sent to Vice Mayor Jim Wood by the
     2     plaintiffs in this case, similar to the one that
     3     was sent to you.        And the documents attached here
     4     were produced by Vice Mayor Wood in response to
     5     that subpoena.
     6              And I'd like you to turn to page 10 of
     7     this document.       And at the top this document has
     8     James Wood's official city letterhead.                 And it's
     9     dated June 25th, 2019.          Do you see that?
     10          A. Uh-huh.
     11          Q. And the subject line says response to
     12    subpoena, correct?
     13          A. Uh-huh.     That's what it says.
     14             MR. BOYNTON:       Yes or no?
     15          A. Yes.
     16          Q. So I'd like you to turn to page 3.              There
     17    is numbered pages at the top of this document.
     18    And I want you to look at the numbered category
     19    15.    This document production request reads,
     20    "Provide any and all documents, communications,
     21    and things related to allegations of racial
     22    appeals or racist incidents in political campaigns


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     1     in Virginia Beach from January 1st, 2000 to the
     2     present."
     3              Mr. Wood's response says, "See Attachment
     4     A."    Correct?
     5           A. It does say "See Attachment A."
     6           Q. Turn three pages in this document.             Do you
     7     see Attachment A?
     8           A. Uh-huh.
     9              MR. BOYNTON:       Well, read the Attachment A
     10    part before you get to the document.
     11          Q. The text on the page says, "Screenshot of
     12    a text message where a candidate reported to me
     13    that poll workers for another candidate were
     14    handing out different color handouts depending
     15    upon the race of the person they encountered at
     16    the polling place."
     17          A. I do read that.
     18          Q. Do you see that?
     19          A. I do.
     20          Q. Were the poll workers referenced there
     21    working for your campaign?
     22          A. Which poll workers?


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     1              MR. BOYNTON:       Let him review the document
     2     first before --
     3          A. Is there names?
     4          Q. I'm talking about the comment here
     5     (indicating).
     6              MR. BOYNTON:       How would he know?
     7          A. How would I know poll workers?                 I don't
     8     know who that is.
     9          Q. You can answer the question.
     10             MR. BOYNTON:       I think it requires him to
     11    look at the document that is the Attachment A.
     12    And I object to the question until he has reviewed
     13    the document.
     14             MS. HARLESS:       He's welcome to look at any
     15    pages of this document and answer the question.
     16    No one has told him he can't.
     17             MR. BOYNTON:       Why don't you review the
     18    actual Attachment A before you answer the
     19    question?
     20         A. Can I ask a question?            I hope.       Can you
     21    define who are the universal poll workers and who
     22    is the universe for another candidate?


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     1          Q. So I didn't write this.              Jim Wood wrote
     2     this.
     3          A. Okay.     Well, I can't answer the question
     4     because I don't know who the poll workers are and
     5     I don't know who another candidate is.                  Without
     6     specificity, I cannot answer that ambiguous
     7     question -- ambiguous statement.
     8          Q. Let's look at the next page.
     9          A. Next page being?
     10         Q. The next page of the document.                  This has
     11    two columns of text messages with images of the
     12    colored ballots that were being handed out in
     13    2018, according to the prior page.                There are two
     14    columns of text messages on this page.                  Do you
     15    seat that?
     16         A. I can't discern them, but I can tell that
     17    they're --
     18         Q. No.     No.    The text messages themselves.
     19    There is two.       There is a left column and a right
     20    column of text messages, correct?
     21         A. I'm reading this.           Correct.
     22             MR. BOYNTON:        I think she's just asking


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     1     you if you turn it on the side are there two
     2     separate columns?        Turn it.      Landscape mode.
     3     There you go.       Two columns.       One column.     Two
     4     columns.
     5          A. Yes.     There are two columns.            Sorry.
     6          Q. I'm just trying to orient you because I'm
     7     going to ask you to look at the right text
     8     message, so the top of the right column.               Do you
     9     see the name Dee?
     10         A. Right here (indicating)?             Is that what
     11    you're referring to?
     12             Dee.    Okay.    Yes.     I see that.
     13         Q. Dee Oliver was the candidate running for
     14    an at-large seat in 2018, correct?
     15         A. She was.
     16         Q. And you only --
     17         A. Yes.
     18         Q. And you only beat her by a small number of
     19    votes, right?
     20         A. I won by a small number of votes, yes.
     21         Q. And, in fact, there was a recount,
     22    correct?


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     1          A. Correct.
     2          Q. And so do you understand -- this page,
     3     along with the prior page, Attachment A, do you
     4     understand these to be text messages from Dee
     5     Oliver to Jim Wood?
     6              MR. BOYNTON:       Objection.       Lack of
     7     foundation.
     8          A. I do not know that.
     9          Q. Do you question whether Attachment A was
     10    produced by Jim Wood?
     11         A. Attachment A?        This being Attachment A?
     12    That says that statement is his statement,
     13    correct?
     14         Q. Correct.
     15         A. His statement does not contain the word
     16    Dee Oliver, so if I can take that as correct --
     17         Q. His statement says, "Screenshot of a text
     18    message where a candidate reported to me that poll
     19    workers for another candidate" -- and the
     20    candidate -- you see the name Dee Oliver at the
     21    top?
     22             MR. BOYNTON:       Respectfully, the only thing


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     1     at the top is Dee.
     2          A. There is no Oliver.
     3          Q. You see the name Dee at the top?
     4          A. Correct.      I do see Dee at the top.
     5          Q. Do you believe that to be Dee Oliver?
     6          A. I have no -- I have no basis to believe it
     7     is or that it isn't.
     8          Q. So sitting here today, you don't know for
     9     sure whether that's Dee Oliver who's texting Jim
     10    Wood; is that correct?
     11         A. That's correct.
     12         Q. If you look at the left column of texts,
     13    Dee writes that there are three colors of sample
     14    ballots.     Do you recognize these sample ballots to
     15    be ballots handed out by your campaign?
     16         A. I can't discern the details of them, so I
     17    can't answer that in the affirmative.                  I mean, I
     18    can't see what the disclosure statement is.                 Is my
     19    campaign disclosure statement on the sample
     20    ballot?     I can't read that from here.               That's not
     21    discernible.      And I don't know who was handing
     22    them out, so I can't say, yes, that my campaign


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     1     workers were or weren't.           But I can't read the
     2     disclosure statement on the ballot itself.
     3          Q. Did your campaign ever produce sample
     4     ballots that looked like this?
     5          A. I don't want to say yes or no.                 I know we
     6     had a sample ballot, but I don't remember us
     7     having two different colors of the sample ballot.
     8     But I -- without seeing these in the full text and
     9     seeing the disclosure statement, I can't be
     10    responsive to your question in an affirmative way.
     11    But if you had the hard copies of them in greater
     12    resolution so it's discernible, I would be happy
     13    to respond.
     14         Q. Have you ever heard anyone claim that a
     15    poll worker working for your campaign was handing
     16    out different colored handouts depending upon the
     17    race of the person they encountered at a polling
     18    place?
     19         A. No.     And all of my people that work polls
     20    were volunteers.        And who might have shown up, I
     21    don't have a full who worked where.                Yes, I do
     22    have poll workers.        But I do not recall someone


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     1     saying I'm handing out ballots based upon the race
     2     of the candidates.        No, I did not.
     3           Q. So if that happened, you're not aware of
     4     it?
     5           A. Correct.
     6           Q. One more question.         You can't read
     7     anything on these sample ballots?
     8           A. Well, I can't read -- I can read sample
     9     ballot.     I can't read the disclosure statement
     10    that would be on a sample ballot.               I can -- if I
     11    stretch, I can see John Moss.             I can see Louis
     12    Jones.     I can see check marks.           But the key part
     13    that you want to be able to read, which is this
     14    part at the bottom, which I guess is the
     15    disclosure statement, that's totally not
     16    discernible to me.
     17          Q. What is Friends of the Elephant?
     18          A. That's not part of my campaign.               That's a
     19    separate organization, I think.              That's not my --
     20    my campaign would say John D. Moss Campaign.                So
     21    you'd have to go and look at the Federal Election
     22    and look at the filing cost to see who Friends of


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     1     the Elephant is.
     2           Q. You don't know anything about Friends of
     3     the Elephant?
     4           A. I know who they are.          They actually gave
     5     me a campaign contribution.            That's all I can tell
     6     you.    I got a campaign contribution from them.
     7     It's a matter of public record.              But I can't tell
     8     you, you know, who all their membership is.
     9     That's one of these things I had no involvement
     10    in.    They were not members of my campaign or
     11    anything of that nature.           There was no
     12    interlocking directorship or corporation, no.
     13          Q. Do you know any name of any individual at
     14    Friends of the Elephant?
     15          A. I do know one name is Gary Byler.
     16          Q. How do you spell that?
     17          A. B-Y-L-E-R.
     18          Q. Who's Gary Byler?
     19          A. An attorney.
     20          Q. Where does he work?
     21          A. I think he works for himself.                 And he's --
     22    I think if you go look at the State Board of


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     1     Elections or whoever keeps all that stuff, you can
     2     get all that information about who Friends of the
     3     Elephant is because they would be registering.                   I
     4     do not have knowledge here.
     5          Q. So if we look at that same text message,
     6     you said you could read your name listed there,
     7     correct?
     8          A. The image?       Not the text?
     9          Q. The image sent in the text message.
     10         A. Yeah.     I mean, I really stretch -- I can't
     11    see it on the blue -- on the pink one.                 I can't
     12    really see that -- my name there.               It's hard to
     13    see.    I think that's my name.           But it's very clear
     14    it's my name on the bluer one, but I can't --
     15    looks like it's Moss on the pink, but I'm having
     16    to squint a bit.        I think that's my name there.            I
     17    can't affirmatively say that is.
     18         Q. Looking at that image still --
     19         A. Which one?
     20         Q. The same one we were looking at.
     21         A. The pink or the blue?
     22         Q. Both.


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     1          A. Okay.
     2          Q. Can you tell that one version of the
     3     sample ballot lists Aaron Rouse's name and one
     4     does not?
     5          A. Louis Jones.
     6              Yes.    I can tell that.
     7          Q. Are you aware whether the sample ballot
     8     that did not include Aaron Rouse's name was handed
     9     only to white voters?
     10         A. I have no knowledge of that.               No, I
     11    cannot.
     12         Q. Are you aware whether the sample ballot
     13    that was handed out to black voters did include
     14    Aaron Rouse's name?
     15         A. I have no knowledge of that either.
     16         Q. Do you have any idea why there were
     17    different sample ballots?
     18         A. I can talk to -- if one of these ballots
     19    was authorized and has my authorization -- I can
     20    only speak to the one from my campaign rep.                I
     21    can't speak to something that somebody else
     22    authorized.


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     1          Q. Put that aside.
     2              MR. BOYNTON:       The entire exhibit?
     3              MS. HARLESS:       Yep.
     4              Let's mark this as Exhibit 5.
     5                                 (Exhibit 5 was marked and
     6                           attached to the transcript.)
     7          Q. Mr. Moss, you've just been handed what is
     8     marked Exhibit 5 by the court reporter.                  Have you
     9     seen this document before?
     10         A. Well, yes.
     11         Q. What is it?
     12         A. An email exchange between Dave Hansen and
     13    myself.     But can I have the opportunity to refresh
     14    my memory?
     15         Q. You can.
     16         A. Thank you very much.
     17             Okay.
     18         Q. All right.       Do you see in the bottom
     19    right -- well, what is this document?
     20         A. This is an email exchange between then
     21    City Manager Dave Hansen and myself.                   He's --
     22    initially my response to him was asking for


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     1     additional --
     2              MR. BOYNTON:       She just wanted you to
     3     authenticate the document.            She didn't ask you for
     4     commentary.
     5          Q. And it's dated --
     6              MR. BOYNTON:       Answer the question.
     7          Q. -- January 20, 2017, correct?
     8          A. She said, well, what is it?              I was going
     9     to tell her what it is.
     10         Q. You're very thorough.
     11             It is dated January 10th, 2017, correct?
     12         A. Correct.
     13         Q. Do you see in the bottom right that this
     14    document is marked with the letters D-E-F and the
     15    numbers 08407?
     16         A. Correct.
     17         Q. I'll represent to you that this is a
     18    document produced by the defendants and your
     19    counsel in this case in response to plaintiffs'
     20    document production requests.             Does that make
     21    sense?
     22         A. Yes.


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     1          Q. Let's start with the email at the bottom
     2     of the page, which is from you to Dave Hansen,
     3     right?
     4          A. Correct.      Yes.
     5          Q. At the time you sent this email in 2017,
     6     you were a City Council member?
     7          A. Yes.
     8          Q. Why were you emailing Mr. Hansen from your
     9     personal Gmail address rather than your city email
     10    address?
     11         A. As I mentioned before, there is no
     12    legislative requirement that I have to provide and
     13    conduct my business on a vbgov account.                And I
     14    choose not to.       And as you can see, the record was
     15    recoverable.      And that complies with the FOIA
     16    requirements.
     17         Q. Uh-huh.
     18             So in this email you refer to a briefing?
     19         A. Correct.
     20         Q. Do you see that?
     21         A. Correct.
     22         Q. What was the briefing that you were


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     1     referring to?
     2          A. The briefing that we received in the
     3     informal session, if I remember correctly, it was
     4     about our efforts to go out and secure and do --
     5     secure a consultant to do a disparity study.
     6          Q. The top of Exhibit 5, this is a reply
     7     email from Mr. Hansen to you, right?
     8          A. It is.
     9          Q. Do you need a second to read it?
     10         A. I've read it.        Thank you.
     11         Q. In the third sentence of the reply
     12    Mr. Hansen says that "SWaM is easy to obtain,
     13    hence why we think the sheltered bidding would be
     14    helping in preserving race neutral completion for
     15    small business."
     16             At the time that email was sent, the city
     17    had actually not obtained parity in contracts with
     18    small, minority-owned businesses, correct?
     19         A. We had not yet achieved the goal we had
     20    set, correct.
     21         Q. In the email Mr. Hansen continues,
     22    "Race-based set-asides are most problematic and


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     1     that is the target of a disparity study.               Very
     2     emotional subject."
     3              Would you agree that race-based set-asides
     4     are problematic?
     5          A. Yes, only because of the judicial issues
     6     that have dealt with in litigation at various
     7     different levels.        You have to be careful because
     8     there are very certain standards you have to meet.
     9     I don't know if you consider that problematic, but
     10    you have to be careful to stay within all the
     11    judicial precedents that deal with those types of
     12    issues, yes.
     13         Q. Any other reasons?
     14         A. No.
     15         Q. Are you opposed to race-based set-asides?
     16         A. I'm opposed to anything that isn't in
     17    compliance with established judicial and
     18    legislative precedent, yes.
     19         Q. If a race-based set-aside was in
     20    compliance with judicial precedent, would you be
     21    opposed to it?
     22         A. No.


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     1          Q. In the email Mr. Hansen then says to you,
     2     "Appreciate your patience this evening allowing it
     3     to play out."       Do you see that?
     4          A. Uh-huh.
     5          Q. Are you aware of what Mr. Hansen is
     6     referring to there?
     7          A. I'd only have to infer that the Council
     8     stayed longer to talk that day and went over the
     9     6:00 parameter, more than likely, and led to
     10    Council staying longer, I'm assuming.                  But I don't
     11    know what his state of mind was, no.
     12         Q. Did you personally always support a full
     13    disparity study?
     14         A. I don't know what full means, but I have
     15    never opposed a disparity study.              I don't know
     16    what full means, but I --
     17         Q. Did you --
     18         A. -- have not been in favor of doing things
     19    that aren't in compliance with legislative and
     20    judicial precedent.
     21         Q. Okay.     Did you ever advocate for doing a
     22    disparity study in phases?


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     1          A. I did.
     2          Q. Did you ever advocate for only doing
     3     certain phases before continuing on to the rest?
     4          A. I did.
     5          Q. Can you elaborate on that?
     6          A. No.
     7          Q. Which phases of a disparity study did you
     8     support?
     9          A. Well, obviously, if you support phases,
     10    you have to support the first phase before you can
     11    go to phase two or three.           And the importance of
     12    that is you get -- just like in any other
     13    professional work you do, you learn something from
     14    phase two which you would use you to what?                  Help
     15    you inform your work from phase two.                   I'm just a
     16    logical person.       But that's my answer.
     17             It's just nothing about the study per se.
     18    I would approach that to any kind of study, to do
     19    it in phases because you learn something at each
     20    phase which informs the next phase.
     21         Q. You'd agree that the disparity study found
     22    that overall the participation of minority-owned


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     1     businesses in contracts that the city awarded
     2     during the study period was substantially lower
     3     than one might expect based on the availability of
     4     those businesses for that work, correct?
     5          A. That was the finding and conclusion of the
     6     report, yes.
     7          Q. You can set that exhibit to the side.
     8              MS. HARLESS:       We'll mark this as Exhibit
     9     6.
     10             MR. BOYNTON:       Are we nearing either an end
     11    or a break point in the next few minutes?
     12             MS. HARLESS:       We can take a break.
     13             (A recess was taken.)
     14                                (Exhibit 6 was marked and
     15                          attached to the transcript.)
     16         Q. This document has just been marked as
     17    Exhibit 6 by the court reporter.              I'll give you a
     18    second to look at it.          And, then, can you just let
     19    me know yes or no whether you've seen this
     20    document before?
     21             MR. BOYNTON:       It may be helpful to go all
     22    the way to the back first and review it in time


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     1     sequence.
     2          A. Okay.
     3          Q. Have you seen this document before?
     4          A. No.
     5          Q. All right.       If you look in the lower right
     6     corner, there are the letters D-E-F and the
     7     numbers 09810 through 09813, correct?
     8          A. Correct.
     9          Q. I'd like you to turn to page 09813, which
     10    is the last page.        At the very bottom there is an
     11    email on June 16th, 2015 from Dave Hansen to John
     12    E. Fowler and Phil A. Davenport, correct?
     13         A. Correct.
     14         Q. Who is John E. Fowler?
     15         A. I'm not certain who that is.               I know who
     16    Phil Davenport is.        But John E. Fowler is not a
     17    name that's registering with me.              Maybe it should.
     18    If I saw a face, it might.            But the name is not
     19    registering.
     20         Q. Who is Phil Davenport?
     21         A. He was at the time, I believe, the
     22    Director of Public Works.


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     1           Q. The subject of this email is AE selection
     2     process.     Do you see that?
     3           A. Uh-huh.
     4           Q. Do you know what AE selection process --
     5           A. Architectural engineering.             Architectural
     6     engineering.
     7           Q. In the text of the message Mr. Hansen
     8     wrote, "Need a briefing on the process.                  Need the
     9     dollars spent on who over the last three years.
     10    Councilman Moss is questioning our reliance on a
     11    select few.      We need to prepare to respond in
     12    advance of the question being asked.                   Dave."
     13             Are you aware of what Mr. Hansen is
     14    referring to when he said Coucilman Moss is
     15    questioning our reliance on a select few?
     16          A. I have consistently, across a number of
     17    issues -- and I don't know what this issue refers
     18    to.    But the city seems to have a pattern of
     19    always going to a certain number of firms for any
     20    work and other types of work.             And he probably
     21    knows that I'm a very inquisitive person.                  By my
     22    reputation, I always ask a lot of questions.                    I'm


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     1     wondering what a pattern is, how is it that the
     2     same people are always, like, people we go to to
     3     get work done at and are we getting the best
     4     value.
     5              It seems like that would be statistically
     6     unusual for the same people to always be getting
     7     the work.     He knows I ask those types of
     8     questions.      I don't know his state of mind because
     9     he references in advance, knowing I haven't asked
     10    anything yet.       But he's anticipating I'm going to
     11    ask.    He's wanting the people to spool up and be
     12    able to answer my question when I ask it.               That's
     13    how I take this to read.           And that -- I have no
     14    other -- I have no knowledge of this.
     15         Q. I'm not asking about any of Mr. Hansen's
     16    intent.     I'm -- he states, "Coucilman Moss is
     17    questioning our reliance on a select few."               And
     18    I'm just wondering if you know specifically what
     19    that's referring to?
     20         A. At this point, in context, I can't tell
     21    you specifically what he's referencing.                But, in
     22    general, I always ask questions where there


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     1     appears to be a pattern that would suggest that
     2     maybe competition hasn't been in place.
     3          Q. Do you know who the select few in this
     4     particular email are?
     5          A. I have no idea.
     6          Q. I'd like you to turn to page 09811 of this
     7     document.
     8          A. Uh-huh.
     9          Q. And towards the top of the page there is
     10    an email sent on June 17th, 2015 from John E.
     11    Fowler to various, what appear to be, city
     12    employees; is that correct?
     13         A. This is the one that says to Rob Clark,
     14    Rich Nettleton, Bobby J. Wheeler, and Nancy
     15    Keenan?     Is that the one you're referring to
     16    (indicating)?
     17         Q. It's from -- yes.
     18         A. Okay.     That reflects that I'm talking on
     19    Wednesday, June 17th, email on John E. Fowler to
     20    Rob Clark referencing AE selection process.
     21         Q. Yes.     Do you know who Rob Clark is?
     22         A. I do not.


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     1          Q. Do you know who Rich Nettleton is?
     2          A. Not by name.        I might know by face.        No.
     3          Q. Do you know Bobby J. Wheeler?
     4          A. Nope.
     5          Q. Do you know Nancy Keenan?
     6          A. No.     I do not know any of these people by
     7     name.    If I saw them in person, I might recognize
     8     them from the informal sessions, but not by name.
     9          Q. In the body of the email Mr. Fowler
     10    writes, "Also, you should watch the video of last
     11    night's Council meeting.           Mr. Moss was talking
     12    about procurement in general; don't know why we're
     13    zeroing in on A/E professional services selection
     14    - but that's the direction."
     15             Do you remember what comments you were
     16    making about procurement?
     17         A. No, but this does affirm my earlier
     18    remarks that I, in general, ask questions.               And it
     19    appears there is a pattern that reflects a lack of
     20    competition.      But I do not have a direct
     21    recollection of that particular meeting.
     22         Q. Does the city video record Council


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     1     meetings?
     2          A. And the informal sessions, correct.
     3          Q. And would a video from the June 16th, 2015
     4     Council meeting still be available on the city's
     5     website?
     6          A. I would defer to the city to answer that
     7     question.
     8          Q. So you don't know?
     9          A. I'd like to think it is, but I do not
     10    affirmatively know.         And this is 2015.
     11         Q. Uh-huh.
     12             So please turn the page to the page number
     13    09810.
     14         A. Yes, ma'am.
     15         Q. And I want you to look at the bottom.
     16    It's an email from Tom Leahy, dated June 18, 2015,
     17    to various other individuals, correct?
     18         A. Correct.
     19         Q. And we already went through, you don't
     20    know who Rob Clark is?          You do know who Phil
     21    Davenport is?
     22         A. Uh-huh.


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     1          Q. You don't know who Rich Nettleton is?
     2          A. Correct.
     3          Q. You do know who Marilyn Crane is?
     4          A. No.     But I do know who Tom Leahy is.
     5          Q. Who is Tom Leahy?
     6          A. He was, I think at this time -- I don't
     7     know this, but he might have been the Director of
     8     Public Utilities or he had taken the position of a
     9     Deputy City Manager whose portfolio was over
     10    Public Works and Public Utilities.               I'm just not
     11    certain that it happened by that date.                 It might
     12    have been later.
     13         Q. In this email Mr. Leahy says that he
     14    watched the Council meeting video, we just
     15    discussed.      And he lists a series of allegations
     16    from minority-owned businesses he took away from
     17    the meeting.      Do you see that, just generally?
     18         A. I do.
     19         Q. One of the allegations he lists was that
     20    the way -- "The way we write our RFPs includes a
     21    bias that tends to preclude minority firms from
     22    qualifying."


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     1              Did you agree with that allegation?
     2          A. I can't recall the context at the time.                I
     3     wouldn't say -- if I was looking -- bias tends to
     4     preclude -- I would tend to say there is a bias --
     5     preclude is a word I probably would not use, but
     6     certainly a bias that maybe discourages or works
     7     against.     But preclude means that they can't in
     8     any way be successful.          I don't know that I would
     9     use the word preclude.
     10         Q. So would you agree that the way the city
     11    writes their RFPs included a bias that tends to
     12    discourage minority firms from qualifying?
     13         A. I would think that's probably closer to
     14    where I would be, yes.
     15         Q. Another allegation listed was that "The
     16    same firms always get the work."
     17             We already discussed this somewhat.             But
     18    did you agree with that allegation?
     19         A. That certainly is the appearance, yes.
     20    The reason why is unknown, but yes.
     21         Q. The next -- there is another item that
     22    says minority -- "Minority firms are told they are


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     1     not qualified so they simply give up."
     2          A. I can't agree or disagree with that
     3     statement.      I have no basis to know the validity
     4     of that.
     5          Q. Okay.     So going back, you mentioned that
     6     you would agree with the allegation that the way
     7     the city wrote their RFPs includes a bias that
     8     discourages minority firms from qualifying.                Why
     9     do you think that's the case?
     10         A. Well, not -- working off the appearance
     11    because, obviously, I'm not directly engaged in
     12    receiving, reviewing, or the factors for RFPs, but
     13    when you look at the fact that it does -- you have
     14    to make an inference -- an inference that there is
     15    something about the process that is discouraging
     16    people, which is why I didn't want to use preclude
     17    because preclude means if you participate and do
     18    all this stuff you might be getting a successful
     19    outcome.
     20             But clearly something is indicated in the
     21    larger statistics that there is something about
     22    the process because the same results always seem


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     1     to turn up that's discouraging people.                 And that's
     2     why I came to that conclusion.              It's an inference
     3     versus an empirically validated conclusion.
     4          Q. All right.       You can set that one to the
     5     side.
     6              Prior to his resignation on August 23rd,
     7     2019, did you think City Manager Dave Hansen was
     8     performing satisfactorily?
     9          A. I'm asserting legislative privilege.
     10             MR. BOYNTON:       Well, here is the thing we
     11    have here.
     12         A. Educate me.
     13             MR. BOYNTON:       You can answer your personal
     14    opinions.     It's the conversations between you and
     15    other legislative actors; i.e., Council members,
     16    that is the privilege.          So you are fair to say
     17    your opinions.
     18         A. No.
     19         Q. Okay.     Can we -- just to get it clear --
     20             MR. BOYNTON:       Sure.
     21         Q. Prior to his resignation on August 23rd,
     22    2019, did you think City Manager Dave Hansen was


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     1     performing satisfactorily?
     2          A. No.
     3          Q. Why?
     4              MR. BOYNTON:       You can answer the question
     5     for your own personal opinions.
     6          A. My own personal opinion.
     7              Two examples.       And they were documented in
     8     the paper.      I sent a privileged communication
     9     regarding a development that was taking place in
     10    the city, the pier project specifically, that
     11    involved Bruce Thompson.           Counsel had yet to hold
     12    an executive session on this particular pier
     13    proposal.     I had sent a privileged, and
     14    FOIA-exempt communication I might add, to the City
     15    Manager on my thoughts about that particular
     16    project.     And he took it upon himself to forward
     17    that communication, a privileged communication, to
     18    Bruce Thompson.
     19             Needless to say, that's an extreme
     20    violation of trust.         And I don't care what your
     21    performance is in other jobs, if you can't trust
     22    someone then they need to be fired.                So that's one


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     1     event.     That was in December.          And I forget the
     2     year on that.       '17.    It wouldn't have been '18.
     3     Probably was '17 when it happened.               Could have
     4     been '18.     That whole -- it was well-reported in
     5     the paper.
     6          Q. We'll get into that.
     7              What is the second one?
     8          A. The second one is the City Manager was on
     9     North Great Neck Road.
     10         Q. Slow down just a little bit.
     11         A. The City Manager was on North Great Neck
     12    Road.    There was an off-duty police officer in
     13    uniform performing a traffic control function
     14    under, I'll call it, a personal contract for a --
     15    I don't know if it's landscape, but some kind of
     16    construction activity that required him to shut
     17    off a lane of highway on North Great Neck Road.
     18             The City Manager approached the situation.
     19    This is my personal opinion again.               He found that
     20    whatever the activity that -- the traffic
     21    direction that the police officer was providing
     22    was not consistent with what he thought should be


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     1     happening.      So he got out of his vehicle and
     2     instructed the police officer to change his
     3     behavior and how he was performing his function at
     4     that location.
     5              The exact nature of all the
     6     instructions -- but I guess there was some
     7     pushback from the officer for which the then City
     8     Manager Hansen said, Hey, don't you know who I am?
     9     That always gets people's attention.                   But clearly
     10    under the city's Charter and authority he is
     11    superior to the Police Chief, and he is in a
     12    position of power to give directions to police
     13    officers whether they're on duty or not when in
     14    uniform.     Anyway, that was less than a pleasant
     15    experience.      Put it that way.
     16             The police officer in question, I don't
     17    know if he filed a formal grievance with the City
     18    Council, because that's who he works with, but,
     19    nonetheless, he brought that to Council's
     20    attention about how he thought he had been, my
     21    words, disrespected or dealt with inappropriately
     22    and not in a professional manner.               So that got


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     1     quite a bit of attention in the paper.
     2              Well, in the course of all of this a lot
     3     of private memos were exchanged, as you can
     4     imagine.     And one of these got out into the public
     5     domain.     And when the Manager had a private
     6     meeting with this officer, he accused me of
     7     providing that information and accused me of doing
     8     it for political purposes.
     9              As it turned out, that document was
     10    actually released by his own PAO officer through
     11    the television station and I had no involvement
     12    with it.     At first, he denied that he threw me
     13    under the bus.       But the police officer,
     14    fortunately, had recorded the conversation, so, in
     15    fact, it was documented what he said.                  And he had
     16    lied about what he said.           So that is infraction
     17    number two.
     18             And so those are my two bases for saying
     19    under no condition was his performance acceptable
     20    to me because, one, he has lied, and, secondly, he
     21    isn't trustworthy.        Everything else is immaterial.
     22    So on that basis his performance was


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     1     unsatisfactory.
     2          Q. What was the name of the police officer?
     3          A. I can't recall that, but it's a matter of
     4     public record.
     5          Q. But it's a matter of public record --
     6          A. It was in the newspaper.
     7          Q. And do you remember what year that was?
     8          A. Might have been '17.
     9          Q. Has Mr. Hansen ever made racially
     10    insensitive comments during his time as City
     11    Manager?
     12             MR. BOYNTON:       Are you asking him for his
     13    observation?
     14         Q. In your opinion.
     15         A. Well, that's not something that's an
     16    opinion either.       Factually -- have I --
     17         Q. Have you --
     18         A. -- directly heard him?            Is that what
     19    you're asking?       I'm not even sure I know what --
     20             MR. BOYNTON:       That's why I was asking.
     21         Q. Let's start with that one.              Have you ever
     22    directly heard Mr. Hansen make racially


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     1     insensitive comments?
     2          A. No.
     3          Q. Are you aware of any racially insensitive
     4     comments that Mr. Hansen has made?
     5          A. Statements that can be inferred to be so,
     6     yes.    Yes.
     7          Q. What are those statements?
     8          A. One was with regards to the recent event
     9     at Floatopia.       That's the best way to express it,
     10    I think.     Some people could take that and did take
     11    that expression, you know, paint your face
     12    comment -- that's one.          I mean, that certainly was
     13    taken by many people as being an insensitive
     14    choice of words.        And --
     15         Q. Why do you think that was taken as an
     16    insensitive choice of words?
     17         A. Well --
     18             MR. BOYNTON:       I'll object to the extent
     19    it's calling for any kind of speculation.
     20         A. I don't know why people -- I can
     21    imagine -- speaking for myself --
     22         Q. That's all I'm asking.            That's all I'm


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     1     asking.
     2          A. Just want to make sure.
     3              In today's environment, and certainly
     4     after Governor Northam's whole thing, you can
     5     imagine that adds to the context of that
     6     statement.      You know, when people think you're
     7     referring to what he claims was not his intent,
     8     that, hey, if you are one race but you had -- and
     9     your face was white, that you wouldn't be being
     10    asked.     And that's how people kind of read that he
     11    was making that inference from his statement.
     12    Poor choice of words.          Having reported it in the
     13    press, I could see how some people could be
     14    offended.     And I could see other people would say,
     15    eh, what's the big deal?           But clearly when you're
     16    a public official, you have to watch all your
     17    words.
     18         Q. Were you about to talk about another one?
     19         A. It wasn't him specifically, but it was --
     20    because it was Ron Williams.             And it's how the
     21    Manager responded to it, I think, is probably more
     22    indicative than if you're talking about -- that


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     1     was the five percenter comment.              That was not by
     2     him, but he certainly didn't come out and
     3     aggressively disown that and take appropriate
     4     action.     So people think you're condoning that.
     5     That's a different issue.
     6              But that's kind of -- that was all based
     7     on the parade.       I was at that parade.             I was
     8     really surprised by that.           But those are the two.
     9     But I've never directly observed him making any
     10    comments.
     11         Q. So besides the two examples you gave me of
     12    Mr. Hansen sharing the privileged communication
     13    that you sent to him about the pier project and
     14    the incident involving the police officer on North
     15    Great Neck Road, in his over three years as City
     16    Manager was there anything Mr. Hansen did that you
     17    thought was grounds for termination?
     18         A. Recommended consistently higher tax rates
     19    and fee increases.
     20         Q. In the past you had called -- openly
     21    called for Mr. Hansen to be fired, correct?
     22         A. Correct.


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     1              MS. HARLESS:       Let's mark this as Exhibit
     2     7.
     3                                 (Exhibit 7 was marked and
     4                           attached to the transcript.)
     5          Q. Mr. Moss, you've just been handed what was
     6     marked Exhibit 7 by the court reporter.                Have you
     7     seen this document before?            I'll give you a
     8     second.     I'm specifically going to be asking you
     9     to look at page 0776, and that's it, of this
     10    document.
     11             MR. BOYNTON:       Okay.
     12         Q. Just for the record, if you look at the
     13    bottom right corner, there is the DEF and the
     14    numbers 0776, correct?
     15         A. Correct.      Yes.
     16         Q. I'll represent to you this was a document
     17    produced by your Council in response to
     18    plaintiffs' document production requests in this
     19    case.
     20             If you look at the top of this page, there
     21    is an article titled -- that says Two Virginia
     22    Beach Council members call for City Manager to be


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     1     fired.     Do you see that?
     2          A. I do.     Yes.
     3          Q. And it's dated June 11th, 2018?
     4          A. Yes.
     5          Q. Were you one of the two City Council
     6     members that called for City Manager Dave Hansen
     7     to be fired?
     8          A. Yes.
     9          Q. Why did you call for Mr. Hansen's
     10    termination at this time?
     11         A. This is repeating what I mentioned
     12    earlier.     Because he did a breach of privileged
     13    communication and provided an email that I sent to
     14    him directly to the individual in the private
     15    sector over which an executive session was being
     16    held about the project, that person being Bruce
     17    Thompson.
     18         Q. Why was the communication privileged?
     19         A. Because it was directly dealing with a
     20    negotiation deal that we were having about a pier
     21    development project.         So we had not yet set the
     22    terms.     And so now he's sharing my thoughts and


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     1     views about an issue that Council had not yet
     2     decided, which was going to be in the executive
     3     session that following Tuesday, and now he's
     4     giving that information and insight to the person
     5     about which the executive session was about their
     6     deal proposal.
     7          Q. And you thought that was inappropriate,
     8     correct?
     9          A. Yes.
     10         Q. Did Mr. Hansen have a close relationship
     11    with Bruce Thompson?
     12         A. It would appear so.
     13         Q. As far as you're aware, did Mr. Hansen
     14    ever give a heads up like this to any other
     15    developer?
     16         A. I have no proof of it, but I suspect it.
     17         Q. You suspect that he gave a heads up to
     18    other developers?
     19         A. It's just a suspicion.
     20         Q. Who?
     21         A. I have no idea, but -- yeah.               That's just
     22    a personal opinion.


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     1          Q. Would you say you have a good relationship
     2     with Mr. Thompson?
     3          A. No, I do not.        I have no relationship with
     4     Mr. Thompson.
     5          Q. Is that because -- well, why is that?
     6          A. Because all he wants to do is to make
     7     private expense with public taxpayers' money.
     8          Q. As far as you're aware, had Mr. Hansen
     9     ever given a heads up, like the heads up he gave
     10    to Bruce Thompson, to Bruce Smith?
     11         A. I have no knowledge of that.
     12         Q. Okay.     So we're looking at the first
     13    paragraph here.       And further down in this
     14    paragraph, close to the bottom, there is a quote
     15    from you, and you're referring to Mr. Hansen.                And
     16    you said, "I think the public has to ask itself
     17    given the track record do we have a managerial
     18    leadership that we can trust?"              You then
     19    continued, "My answer is we do not."
     20             What is the track record you're referring
     21    to regarding Mr. Hansen?
     22         A. We dealt with that police issue which


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     1     preceded this.       It would just go with what he --
     2     his support for things like light rail, when the
     3     public clearly, even after we -- the public voted
     4     it down, he was still an advocate for it, in
     5     effect.     So there is just a number of issues on
     6     which he, rather than being, in my view, a City
     7     Manager being neutral as to policy, was an
     8     advocate for the very special interest that I
     9     often talk about.
     10         Q. Which special interest was he an advocate
     11    for?
     12         A. Well, certainly Bruce Thompson.
     13         Q. Any others?
     14         A. Well, there are other people involved with
     15    the pier project, but I can't recall their names.
     16    But, generally speaking, he was -- CityView Two
     17    was another one he was an advocate for.                These are
     18    all taxpayer subsidies for developers.                 But not
     19    all developers get those taxpayer subsidies.                So
     20    he certainly had a short list, in my opinion.
     21         Q. Are you -- sorry.          Are you -- I didn't
     22    mean to interrupt.        I thought you were done.          Are


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     1     you done?
     2          A. I am done.
     3          Q. What do you mean by certainly not all
     4     people get the taxpayer money?
     5          A. I'll give you a good example.                  I like
     6     examples.     We had Cecil Cutchins, who's Olympia
     7     Development Corporation, wanted to acquire a piece
     8     of city property on Bonney Road.              He only wanted
     9     to build two office buildings on it.                   He was not
     10    looking for any city indirect or direct tax
     11    expenditures.       The Manager and staff kept pushing
     12    on him that he had to include retail and office
     13    and all sorts of other development.                And he said,
     14    hey, that won't sell in the marketplace.                  He said,
     15    yes, but we'll make it so it can because we'll
     16    give you tax rebates on real estate and we'll do
     17    this, this, and this.
     18             The guy was so incensed he actually
     19    reached out to Council members about it, saying
     20    why are you forcing development on me that I'm
     21    willing to build here at no taxpayer anything but
     22    there is no market for this.             And so in the end


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     1     the Council, after this got fairly public, said,
     2     no, we're going to approve what it is.                 But
     3     it's -- that's just -- just an example of an
     4     approach to business that costs the taxpayers
     5     money and there is no reasonable, rational
     6     explanation for it.
     7              But, anyway -- but he seems to have his
     8     own agenda.
     9          Q. Dave Hansen?
     10         A. Well, when he was in the job as City
     11    Manager, yes, appeared to have his own vision of
     12    what he thought the city should look like.                   And he
     13    was willing to use taxpayers' money to get what he
     14    wanted even when it didn't make sense.                 So he has
     15    a track record of having his own view of what he
     16    thinks the city should be, and I think often
     17    usurping Council's prerogatives.              That's my
     18    personal view.       Maybe that's why he's not the City
     19    Manager.
     20         Q. How you spell Cecil Cutchins?
     21         A. C-E-C-I-L, Cecil.          Cutchins is
     22    C-U-T-C-H-I-N-S.        And he's the CEO of Olympia


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     1     Development Corporation.           And all that was
     2     discussed in informal and open session, so there
     3     is a clear record of all of that.
     4          Q. All right.       You can set that to the side.
     5              MS. HARLESS:       We'll mark this as Exhibit
     6     8.
     7                                 (Exhibit 8 was marked and
     8                           attached to the transcript.)
     9          Q. I'll give you a second to look at that
     10    before I ask you about it.
     11         A. Okay.
     12         Q. Have you seen Exhibit 8 before?
     13         A. I remember when this came through from
     14    Henry.     You know, I don't -- I can't -- I do
     15    remember when this came through.              Like I said,
     16    this would go to all City Council, so it would
     17    have been forwarded to my personal account.                I do
     18    recall -- I remember the cumulative voting.
     19    That's what stuck in my memory because that was --
     20    most people don't even know about cumulative
     21    voting.
     22         Q. If you look at the bottom right corner of


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     1     this document, you'll see the letters DEF and the
     2     number 09444 to 09445, correct?
     3          A. Yes.
     4          Q. I'd like you to look at the middle of the
     5     first page, so 094444.          This is an email from
     6     Henry Ryto on October 16th, 2018 to the City
     7     Council, correct?
     8          A. Correct.      Yes.
     9          Q. And you already mentioned you got this
     10    email as a City Council member?
     11         A. Yes.
     12         Q. Who is Henry Ryto?
     13         A. He's a resident of Virginia Beach.              That's
     14    what I know Henry as.          He used to come often or
     15    earlier times down to City Council and sometimes
     16    spoke.     But he comes to town halls occasionally.
     17    I think that one time he was actually employed by
     18    HRT.    That's how I know Henry.
     19         Q. What's HRT?
     20         A. Hampton Roads Transit.
     21         Q. Have you met him in person?
     22         A. Yes.     Not outside the Council chambers or


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     1     a public event.       But I have met him, yes.
     2          Q. What is Mr. Ryto's race?
     3          A. He's Caucasian.
     4          Q. In the email Mr. Ryto proposes several
     5     alternative methods for electing members to the
     6     City Council, correct?
     7          A. Correct.      Yes.
     8          Q. Did you support any of these proposals?
     9          A. No.     There is a record we previously
     10    discussed, I have supported the hybrid system for
     11    the seven districts, going to single-member
     12    districts with four at-large, including the Mayor,
     13    so no.
     14         Q. Were you interested in any of these
     15    proposals?
     16         A. No.
     17         Q. You mentioned earlier that cumulative
     18    voting caught your eye.           Was there anything
     19    particular about the cumulative voting that caught
     20    your eye?
     21         A. Only that rarely do people have a
     22    knowledge of it that aren't in the ins and outs of


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     1     politics of voting.         Usually it's not something
     2     you hear people talk about much, so it caught my
     3     eye as, oh, an average citizen that knows about
     4     cumulative voting.        That was kind of unique.
     5     That's why.      Not because anything about the
     6     topics, but just that the citizen was aware of
     7     cumulative voting.
     8           Q. Do you know what ranked choice voting is?
     9           A. Say again.
     10          Q. Do you know what ranked choice voting is?
     11          A. I've heard of it.         I'm not an expert on
     12    it.    I wouldn't want to opine on it.                 But I am
     13    familiar with the basic principles of it.
     14          Q. Besides this email and the communications
     15    you mentioned earlier, have you ever communicated
     16    in any way with Mr. Ryto regarding alternative
     17    election systems for the City Council in Virginia
     18    Beach?
     19          A. I might have.       And it would show up in my
     20    councilmail -- my archive.gov if I did.
     21          Q. Do you know why Mr. Ryto is proposing
     22    alternative methods of elections to the City


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     1     Council?
     2           A. I have no idea, other than he has a
     3     sincere interest in, you know, expressing his
     4     views.     But no, I do not.
     5           Q. Did you discuss this email from Mr. Ryto
     6     with anyone else on the City Council?
     7           A. No.    I'm certain of that.
     8              MS. HARLESS:       All right.       Could we just
     9     take a short break?
     10             MR. BOYNTON:       Uh-huh.
     11             (A recess was taken.)
     12             MS. HARLESS:       No further questions from
     13    me.
     14             MR. BOYNTON:       Thank you.       I have no
     15    questions for you, sir.
     16             You have a right to read and sign the
     17    deposition transcript once it's transcribed to
     18    make sure it's been transcribed accurately.                We've
     19    been advising our clients to read.
     20             THE DEPONENT:       I do.
     21             MR. BOYNTON:       If you'd advise --
     22             THE DEPONENT:       Yes.     I always want to have


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     1     a chance to read.
     2
     3              (Signature having not been waived, the
     4     deposition of JOHN D. MOSS was concluded at 12:50
     5     p.m.)
     6
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     1                  ACKNOWLEDGMENT OF DEPONENT
     2                I, JOHN D. MOSS, do hereby acknowledge
     3     that I have read and examined the foregoing
     4     testimony, and the same is a true, correct, and
     5     complete transcription of the testimony given by
     6     me and any corrections appear on the attached
     7     Errata Sheet signed by me.
     8
     9
     10    _____________________              ________________________
     11               (DATE)                            (SIGNATURE)
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     1     CERTIFICATE OF SHORTHAND REPORTER-NOTARY PUBLIC
     2                I, Penny C. Wile, RPR, RMR, CRR, the
     3     officer before whom the foregoing deposition was
     4     taken, do hereby certify that the foregoing
     5     transcript is a true and correct record of the
     6     testimony given; that said testimony was taken by
     7     me stenographically and thereafter reduced to
     8     typewriting under my direction; that reading and
     9     signing was requested; and that I am neither
     10    counsel for, related to, nor employed by any of
     11    the parties to this case and have no interest,
     12    financial or otherwise, in its outcome.
     13               IN WITNESS WHEREOF, I have hereunto set my
     14    hand and affixed my notarial seal this 23rd day of
     15    September, 2019.
     16               My commission expires:           January 31, 2021.
     17
     18
     19
     20    ____________________________
     21     NOTARY PUBLIC IN AND FOR
     22    THE COMMONWEALTH OF VIRGINIA


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